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                    Exhibit 12
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                                   PRODUCT MONOGRAPH




                                          Pr
                                              TASIGNA®
                                          (Nilotinib Capsules)

                  50 mg, 150 mg and 200 mg nilotinib (as nilotinib hydrochloride monohydrate)

                                         Protein kinase inhibitor




       Novartis Pharmaceuticals Canada Inc.                              Date of Preparation:
       385, Bouchard Blvd.                                               December 4, 2006
       Dorval, Quebec, H9S 1A9

       Control No: 242015                                                Date of Revision:
                                                                         November 17, 2020




       TASIGNAis a registered trademark




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                                              PrTASIGNA®


                                            (nilotinib capsules)


                        PART I: HEALTH PROFESSIONAL INFORMATION


     SUMMARY PRODUCT INFORMATION

       Route of              Pharmaceutical      Clinically Relevant Nonmedicinal Ingredients
       Administration        Form/Strength
       Oral                  Capsule 200 mg      Capsule content: Lactose monohydrate.
                             Capsule 150 mg
                                                 For a complete listing see Dosage Forms,
                             Capsule 50 mg       composition and Packaging section.


     INDICATIONS AND CLINICAL USE

     TASIGNA (nilotinib capsules) is indicated for:

             the treatment of adult patients with newly diagnosed Philadelphia chromosome positive
              chronic myeloid leukemia (Ph+ CML) in chronic phase (CP).

              Clinical effectiveness of TASIGNA in adults with newly diagnosed Ph+ CML-CP is
              based on major molecular response rate at 12 months and complete cytogenetic response
              rate by 12 months.

          the treatment of pediatric patients 2 years of age and older with newly diagnosed Ph+
            CML-CP.

              Clinical effectiveness of TASIGNA in pediatric patients with newly diagnosed Ph+
              CML-CP is based on major molecular response by 12 cycles and complete cytogenetic
              response at 12 cycles.

             the treatment of chronic phase (CP) and accelerated phase (AP) Philadelphia chromosome
              positive chronic myeloid leukemia (Ph+CML) in adult patients resistant to or intolerant
              of at least one prior therapy including imatinib.

              Clinical effectiveness of TASIGNA in adults with imatinib-resistant or -intolerant Ph+
              CML-CP was based on the unconfirmed major cytogenetic and complete hematologic
              response rates




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            Clinical effectiveness of TASIGNA in imatinib-resistant or -intolerant Ph+ CML-AP for
            adult patients was based on the confirmed hematologic response rates and the
            unconfirmed major cytogenetic response rates.

          the treatment of pediatric patients 2 years of age and older with Ph+ CML-CP with
            resistance or intolerance to prior therapy including imatinib.

            Clinical effectiveness of TASIGNA in pediatric patients with imatinib-resistant or -
            intolerant Ph+ CML-CP was based on the MMR rate at 6 cycles.

            No overall survival benefit has been demonstrated.

     Pediatrics: The safety and efficacy of TASIGNA in pediatric patients with Ph+ CML-CP from
     2 to less than 18 years of age have been established. There is no experience in pediatric patients
     below 2 years of age or in pediatric patients with Ph+ CML-AP or blast crisis (BC). The long-
     term effects of prolonged treatment with TASIGNA in pediatric patients are unknown (see
     WARNINGS AND PRECAUTIONS).

     Geriatrics (≥ 65 years of age) : Approximately 12% and 30% of subjects in the clinical studies
     (Phase III study (A2303) in newly diagnosed Ph+ CML-CP; and Phase II study (A2101) in
     resistant or -intolerant Ph+ CML-CP and CML-AP) were 65 years of age or older respectively.
     No major differences were observed for safety and efficacy in patients ≥ 65 years of age as
     compared to adults 18 to 65 years of age.


     CONTRAINDICATIONS

     Do not use in patients with a known long QTc prolongation or with a persistent QTc of >480
     msec (See WARNINGS AND PRECAUTIONS).

     Do not use in patients with uncorrectable hypokalemia or hypomagnesemia.

     Do not use in patients with known hypersensitivity to nilotinib or to any of the excipients (for a
     complete listing, see the Dosage Forms, Composition and Packaging section of the product
     monograph).




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     WARNINGS AND PRECAUTIONS

                                  Serious Warnings and Precautions


            Sudden Cardiac Deaths (see Warnings and Precautions and Adverse Reactions)
            QT interval prolongation (see Warnings and Precautions, Drug Interactions, Food-
            effect and Monitoring and Laboratory Tests)
            Do not use in patients with uncorrectable hypokalemia or hypomagnesemia
             (see Warnings and Precautions)
            Ischemic heart disease, ischemic cerebrovascular events and peripheral arterial
             occlusive disease (PAOD), (in some rare cases, fatal) (see Warnings and Precautions
             and Monitoring and Laboratory Tests)
            Hepatotoxicity/ Hepatic failure (in some cases, fatal) (see Warnings and Precautions)
            Pancreatitis (see Warnings and Precautions)
            Myelosuppression (thrombocytopenia, neutropenia and anemia) (see Warnings and
             Precautions)

           TASIGNA should only be prescribed by a qualified healthcare professional who is experienced in
           the use of antineoplastic therapy and in the treatment of chronic myeloid leukemia.

         Treatment discontinuation in Ph+ CML-CP patients who have achieved a sustained molecular
         response (MR4.5) should be attempted only if the monitoring requirements using a quantitative
         diagnostic test validated with a sensitivity of at least MR4.5 (BCR-ABL/ABL ≤0.0032% IS) can be
         performed at the specified frequency (see Warnings and Precautions; Monitoring and Laboratory
         Tests). Discontinuation of TASIGNA therapy should be initiated by a physician experienced in the
         treatment of patients with CML.

         Discontinuation of TASIGNA treatment to attempt treatment-free remission (TFR) phase in
         pediatric patients has not been assessed.


     General
     BCR-ABL Mutations : The T315I mutation confers a high level of resistance to nilotinib and
     most tyrosine kinase inhibitors based on in vitro and clinical data.

     Carcinogenesis and Mutagenesis
     In the 2-year rat carcinogenicity study conducted orally at TASIGNA at 5, 15, and 40 mg/kg/day,
     there was a non-statistically significant increased incidence of uterine hemangiosarcoma,
     adenocarcinoma and squamous cell carcinoma and an increase in follicular cell adenoma in the
     thyroid gland (barely reaching statistical significance). Given that the incidence of thyroid
     follicular cell adenoma and uterine adenocarcinoma were within the historical control range, the
     data do not clearly indicate that TASIGNA is carcinogenic in rats. Exposures (in terms of AUC)
     at the highest dose level represented approximately 2x to 3x human daily steady state exposure
     at the dose of 800 mg/day. TASIGNA is not mutagenic (see TOXICOLOGY).




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     In the 26-week Tg.rasH2 mouse carcinogenicity study, in which nilotinib was administered at 30,
     100 and 300 mg/kg/day, skin papillomas/carcinomas were detected at 300 mg/kg, representing
     approximately 30 to 40 times (based on AUC) the human exposure at the maximum approved
     dose of 800 mg/day (administered as 400 mg twice daily). The No-Observed-Effect-Level for the
     skin neoplastic lesions was 100 mg/kg/day, representing approximately 10 to 20 times the human
     exposure at the maximum approved dose of 800 mg/day (administered as 400 mg twice daily).

     The relevance of the findings from the rat and mouse carcinogenicity studies for humans is not
     known at this time.


     Cardiovascular
     Sudden Cardiac Deaths : In clinical trials, 19 cases of sudden cardiac death have been reported
     out of 11,351 patients receiving TASIGNA (uncommon frequency of 0.17%). Of the 19 cases,
     13 documented cases had a past medical history of cardiac disease or significant cardiac risk
     factors for sudden cardiac death. In 4 of the 19 cases of sudden cardiac death, patients had no
     prior medical history of cardiac disease. Comorbidities in addition to the underlying malignancy
     were also frequently present as were concomitant medications. Ventricular repolarization
     abnormalities may have been contributory factors. No cases of sudden cardiac deaths have been
     reported in any treatment group in the newly diagnosed Ph+ CML-CP Phase III study (A2303).
     Based on post-marketing exposure in patient-years, the estimated reporting rate for spontaneous
     reports of sudden death is 0.02% per patient-year.

     QT Prolongation : In vitro data indicate that nilotinib has the potential to prolong cardiac
     ventricular repolarization (QT interval).

     In the Phase III study (A2303) in newly diagnosed Ph+ CML-CP patients, the maximum QTcF
     mean increase from baseline was 12.3 msec in the nilotinib 300 mg twice daily arm (two-sided
     90% Upper CI: 14.4) and 12.9 msec in the nilotinib 400 mg twice daily arm (two-sided 90%
     Upper CI:15.1). At the recommended dose of 300 mg twice daily no patient had an absolute QTcF
     of >480 msec and no events of Torsades de Pointes were observed in this trial. One patient in the
     400 mg twice daily arm had an absolute QTcF of >480 msec. Thirty-two (32) patients (11.5%)
     in nilotinib 300 mg twice daily treatment group and 40 patients (14.4%) in nilotinib 400 mg twice
     daily treatment group had absolute QTcF >450 msec. QTcF increase from baseline that exceeded
     60 msec was observed in 5 patients while on treatment drug (one in the TASIGNA 300 mg twice
     daily treatment group and four in the TASIGNA 400 mg twice daily treatment group).

     In the Phase II study (A2101) in imatinib-resistant or -intolerant CML patients in CP and AP,
     treated with nilotinib 400 mg twice daily, the change from baseline in mean time-averaged QTcF
     interval at steady-state was 5 msec and 8 msec, respectively. The maximum QTcF mean increase
     from baseline was 6.8 msec (two-sided 90% Upper CI: 8.4) and 13.4 msec (two-sided 90% Upper
     CI: 17.2) respectively. QTcF of >500 msec was observed in 4 (1.2%) of CML-CP patients. QTcF
     > 60 msec increase from baseline was observed in the combined CML-CP and –AP patient
     populations (CML-CP 8 (2.5%) and CML-AP 11 (8%).




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     In a healthy volunteer study (A2119), peak plasma concentrations were 26% lower than in the
     clinical study in CML patients. The maximum mean placebo-adjusted QTcF increase from
     baseline was 18 msec (1 –sided 95% Upper CI: 26 msec). In addition, no clinically relevant
     arrhythmias were observed during the conduct of the trial. In particular, no episodes of Torsades
     de Pointes (either transient or sustained) were observed.

     Clinically meaningful prolongation of the QT interval may occur when TASIGNA is
     inappropriately taken with food, and/or strong CYP3A4 inhibitors and/or medicinal products with
     a known potential to prolong QT; therefore, concomitant administration should be avoided (see
     Drug-Food Interactions and Drug-Drug Interactions).

     The presence of hypokalemia and hypomagnesemia may place patients at risk of developing QT
     prolongation (see CONTRAINDICATIONS).

     TASIGNA should be avoided in patients who are at significant risk of developing prolongation
     of QTc interval, such as: patients taking anti-arrhythmic medicines or other drugs that may lead
     to QT prolongation, and cumulative high-dose anthracycline therapy. Hypokalemia or
     hypomagnesemia must be corrected prior to TASIGNA administration (See Drug-Drug
     Interactions and DOSAGE AND ADMINISTRATION).
     TASIGNA should be used with caution in patients with uncontrolled or significant cardiac
     disease including recent myocardial infarction, congestive heart failure (CHF), unstable angina
     or clinically significant bradycardia.

     Other Cardiovascular Disorders : In clinical studies, newly diagnosed Ph+ CML-CP and
     imatinib-resistant or -intolerant Ph+ CML-CP and CML-AP patients with any of the following
     uncontrolled or significant cardiac disease were excluded: recent myocardial infarction, CHF,
     unstable angina, or clinically significant bradycardia. Imatinib-resistant or -intolerant Ph+ CML-
     CP and CML-AP patients with complete left bundle branch block and/or right bundle branch
     block, with left anterior hemiblock, or with bifascicular block were excluded from the study.
     Newly diagnosed Ph+ CML-CP patients with complete left bundle branch block were also
     excluded. ECG and cardiac enzyme monitoring were conducted in patients throughout the
     studies.

     In newly diagnosed Ph+ CML-CP, left ventricular ejection fraction (LVEF) was assessed by
     echocardiography at baseline (within 14 days prior to the initial dose of nilotinib) in all patients.
     LVEF assessment was repeated in these patients on a regular basis and as clinically indicated
     thereafter. No patients in any treatment groups had a LVEF <45% during treatment. Also, there
     were no patients with 15% or greater decrease from baseline in LVEF.

     In imatinib-resistant or -intolerant Ph+ CML-CP and CML-AP patients, LVEF was assessed by
     echocardiography or MUGA scan at baseline (within 14 days prior to the initial dose of nilotinib)
     in 49/438 patients. LVEF assessment was repeated in these patients as clinically indicated
     thereafter, and at the time of study completion. There was no clinically significant change in
     LVEF from baseline in the assessed patients.




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     Cardiovascular adverse reactions have been observed in patients in the TASIGNA clinical studies
     at the recommended doses including cardiac failure observed in <1% of patients with imatinib-
     resistant or -intolerant Ph+ CML-CP and CML-AP, and with newly diagnosed Ph+ CML-CP. In
     a Phase III study (A2303) in newly diagnosed Ph+ CML patients, with a median time on therapy
     of 60.5 months in the clinical trial, cases of cardiovascular events included ischemic heart disease-
     related events (5.0% and 9.4% in the nilotinib 300 mg and 400 mg twice daily groups
     respectively, and 2.5% in the imatinib arm), peripheral arterial occlusive disease (3.6% and 2.9%
     in the nilotinib 300 mg and 400 mg twice daily groups respectively, and 0% in the imatinib arm),
     and ischemic cerebrovascular events (1.4% and 3.2% in the nilotinib 300 mg and 400 mg twice
     daily groups respectively, and 0.7% in the imatinib arm).

     Peripheral arterial occlusive disease, ischemic heart disease and ischemic cerebrovascular events
     include events such as femoral artery stenosis, coronary artery stenosis, cerebrovascular accident,
     vascular graft occlusion, arterial stenosis limb and carotid artery stenosis. Peripheral arterial
     occlusive disease can be severe, rapidly evolving and may affect more than one site. Peripheral
     arterial occlusive disease might require repeated revascularization procedures and can result in
     complications that may be serious such as limb necrosis and amputations. Most of the patients
     who developed cardiovascular adverse reactions had pre-existing documented cardiovascular
     disease or risk factors for atherosclerotic-related disease.

     Of the 365 patients treated with TASIGNA, who had no documented pre-existing risk factors for
     cardiovascular disease, 19 patients (5%) experienced atherosclerotic-related events. Since it is
     not known whether TASIGNA caused or exacerbated these conditions, patients should be
     monitored during treatment with TASIGNA for signs of atherosclerotic-related conditions and
     actively managed during TASIGNA therapy according to standard guidelines. If acute signs or
     symptoms of cardiovascular events occur, advise patients to seek immediate medical attention.
     Administer with caution in patients with pre-existing risk factors for atherosclerosis (See
     Monitoring and Laboratory Tests, DOSAGE AND ADMINISTRATION/Dose
     Adjustments or Modifications, ADVERSE REACTIONS and Post-Market Adverse
     Reactions).

     Endocrine and Metabolism
     Diabetes/hyperglycemia: New-onset diabetes/hyperglycemia were reported with a common
     frequency (4.8%) in CML patients in completed clinical trials. In addition, cases of exacerbated
     diabetes have been reported from post-marketing experience (see ADVERSE REACTIONS).

     Fluid retention: Medically severe forms of drug-related fluid retention such as Grade 3 or 4
     pleural effusion, pulmonary edema, and pericardial effusion were reported with an uncommon
     frequency (0.1 to 1%) observed in a Phase III study of newly diagnosed Ph+ CML-CP patients.
     Similar events were observed in post-marketing reports. Unexpected, rapid weight gain should
     be carefully investigated. If signs or symptoms of severe fluid retention appear during treatment
     with TASIGNA, the etiology should be evaluated and patients treated accordingly (see
     Monitoring and Laboratory Tests, DOSAGE AND ADMINISTRATION/ Dose
     Adjustments or Modifications).




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     Hematologic
     Myelosuppresion: Treatment with TASIGNA is often associated with thrombocytopenia,
     neutropenia and anemia (NCI CTC Grade 3/4). The occurrence is more frequent in patients with
     imatinib-resistant or -intolerant CML and in particular in patients with CML-AP. Complete blood
     counts should be performed every two weeks for the first 2 months and then monthly thereafter,
     or as clinically indicated. Myelosuppression was generally reversible and usually managed by
     withholding TASIGNA temporarily or reducing the dose (see DOSAGE AND
     ADMINISTRATION).

     Hemorrhage
     Gastrointestinal and Central Nervous System (CNS) hemorrhage were reported in 1% and <1%
     of imatinib-resistant or -intolerant Ph+ CML-CP and CML-AP patients, respectively. In newly
     diagnosed Ph+ CML-CP, gastrointestinal hemorrhage, regardless of causality, was reported in
     3% in the patients receiving TASIGNA 300 mg twice daily and in 5% in the patients receiving
     TASIGNA 400 mg twice daily. CNS hemorrhage, regardless of causality, was reported in <1%
     of the newly diagnosed Ph+ CML-CP patients receiving TASIGNA 300 mg and in patients
     receiving TASIGNA 400 mg twice daily (See ADVERSE REACTIONS).

     Hepatic/Biliary and Pancreatic

     Hepatotoxicity/Hyperbilirubinemia: TASIGNA may result in elevation of bilirubin due to
     competitive inhibition of Uridine-Diphosphate-Glucuronyl Transferase (UGT1A1) and in
     elevation of alanine transaminase (AST), aspartate aminotransferase (ALT) and alkaline
     phosphatase (see Drug-Drug Interactions and ADVERSE REACTIONS). Patients taking
     TASIGNA who may be predisposed to or who may have Gilbert’s syndrome may have a higher
     risk of unconjugated hyperbilirubinemia. This may also occur in patients who are taking drugs
     known to inhibit UGT1A1.

     Pediatric population: Laboratory abnormalities of mild to moderate transient elevations of
     aminotransferases and total bilirubin have been observed in children at a higher frequency than
     in adults, indicating a higher risk of hepatotoxicity in the pediatric population (see ADVERSE
     REACTIONS, Safety of TASIGNA in Pediatric Patients with Newly Diagnosed or
     Resistant/Intolerant Ph+ CML-CP). If clinically significant hepatotoxicity develops, consider
     dose modifications (see DOSAGE AND ADMINISTRATION).

     Hepatic Failure: Twenty five cases of hepatic failure were reported in CML patients. Five of
     these were fatal including one case with no previous hepatic impairment. There were 29 cases
     of ascites reported in pooled clinical trials data which included all adverse events regardless of
     causality and the patient population. Three cases of hepatic steatosis and 2 cases of hepatic
     necrosis were reported in all clinical trial patients. One of those fatal cases which satisfied Hy’s
     Law was hepato-renal syndrome and fulminant hepatitis reported in a 23 year old male CML
     patient who had received 4 months of treatment with TASIGNA. Two cases of cytolytic hepatitis
     were reported in newly diagnosed Ph+ CML-CP patients. If clinically significant hepatotoxicity
     develops, consider dose modifications (see DOSAGE AND ADMINISTRATION).




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     Elevated Serum Lipase/Amylase: Grade 3/4 elevation in serum lipase and amylase have been
     observed. Few of these elevations were associated with abdominal pain or pancreatitis. There
     were 5 cases (1.1%) of pancreatitis reported in imatinib-resistant or -intolerant Ph+ CML-CP and
     CML-AP patients (N= 458). In newly diagnosed Ph+ CML-CP, 5 (1.8%) and 8 (2.9%) cases of
     pancreatitis were reported in patients receiving TASIGNA 300 mg twice daily (N=279), and 400
     mg twice daily (N=277) respectively. Caution is recommended in patients with previous history
     of pancreatitis. In case lipase elevations are accompanied by abdominal symptoms, doses should
     be interrupted and appropriate diagnostics should be considered in order to rule out pancreatitis
     (see DOSAGE AND ADMINISTRATION).

     Immune
     Six cases of vasculitis (including 1 cerebral) have been reported in pooled clinical trials data
     which included all adverse events regardless of causality and the patient population (see
     ADVERSE REACTIONS).

     Hepatitis B virus reactivation: Reactivation of hepatitis B virus (HBV) has occured in patients
     who are chronic carriers of this virus after receiving a BCR-ABL tyrosine kinase inhibitor (TKI),
     including TASIGNA. Some cases resulted in acute hepatic failure or fulminant hepatitis leading
     to liver transplantation or death.

     Patients should be tested for HBV infection before initiating treatment with TASIGNA. Patients
     currently on TASIGNA should have baseline testing for HBV infection in order to identify
     chronic carriers of the virus. Experts in liver disease and in the treatment of hepatitis B should be
     consulted before treatment is initiated in patients with positive HBV serology (including those
     with active disease) and for patients who test positive for HBV infection during treatment.
     Carriers of HBV who require treatment with TASIGNA should be closely monitored for signs
     and symptoms of active HBV infection throughout therapy and for several months following
     termination of therapy.

     Musculoskeletal
     Several cases of possible rhabdomyolysis, and some with concomitant elevations in serum
     creatinine, creatine kinase, creatine phosphokinase and hepatic transaminases, have been reported
     (unknown frequency). Several of these cases had pre-existing risk factors and/or were receiving
     concomitant medications known to be associated with this adverse event (see ADVERSE
     REACTIONS).

     Peri-Operative Considerations

     Total gastrectomy: The bioavailability of nilotinib was shown to be reduced in patients
     administered 400 mg bid TASIGNA with total gastrectomy versus non-gastrectomized patients
     (see Pharmacokinetics section). More frequent follow-up of adult and pediatric patients should
     be considered.




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     Renal
     Acute renal failure (including a fatality) has been reported in 4 CML patients (uncommon
     frequency).

     Respiratory
     Four cases of interstitial lung disease (Grade 3/4) have been reported (uncommon frequency) in
     CML patients.

     Sensitivity/Intolerance
     Since the capsules contain lactose, TASIGNA is not recommended for patients with rare
     hereditary problems of galactose intolerance, severe lactase deficiency or of glucose-galactose
     malabsorption.

     Sexual Function/Reproduction

     Fertility: The effect of TASIGNA on male and female fertility in humans is not known. Increased
     post-implantation loss was observed in both the fertility study, with the treatment of both female
     and male rats, and in the embryotoxicity study with the treatment of female rabbits (see
     TOXICOLOGY, Reproductive toxicity studies). Sexually active male or female patients taking
     TASIGNA should use highly effective contraception. Prior to initiating TASIGNA therapy,
     physicians should advise and counsel their patients as appropriate (see WARNINGS AND
     PRECAUTIONS, Females of childbearing potential and Male patients).

     Tumour Lysis Syndrome
     Cases of tumor lysis syndrome have been reported in patients treated with TASIGNA in pooled
     clinical trials. For monitoring recommendations see DOSAGE AND ADMINISTRATION.

     Special Populations

     Renal Impairment
     Clinical studies have not been performed in patients with impaired renal function. Clinical studies
     have excluded patients with serum creatinine concentration >1.5 times the upper limit of the
     normal range.

     TASIGNA and its metabolites are not renally excreted (See Pharmacokinetics).

     Due to the potential for tumour lysis syndrome in patients treated with TASIGNA, patients with
     decreased renal function may be at increased risk (See MONITORING AND LABORATORY
     TESTS and DOSAGE AND ADMINISTRATION).

     Hepatic impairment
     Hepatic impairment has an effect on the pharmacokinetics of TASIGNA. Single dose
     administration of TASIGNA 200 mg in adults resulted in increases in AUC of 35%, 35% and
     56% in subjects with mild, moderate and severe hepatic impairment, respectively compared to a
     control group of subjects with normal hepatic function. The steady-state Cmax of TASIGNA will




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     likely to be increased by up to approximately 29% in subjects with hepatic impairment. Clinical
     studies have excluded patients with ALT and/ or AST >2.5 (or >5, if related to disease) times the
     upper limit of the normal range and/ or total bilirubin >1.5 times the upper limit of the normal
     range. Metabolism of nilotinib is mainly hepatic. TASIGNA should be used with caution and
     careful clinical monitoring (including close monitoring of the QTc interval) in patients with
     hepatic impairment (see DOSAGE AND ADMINISTRATION).


     Gilbert’s syndrome : Due to a polymorphism in the enzyme UGT1A1 in patients who may be
     predisposed to Gilbert's syndrome, or in patients with Gilbert's syndrome, a higher risk
     unconjugated hyperbilirubinemia with nilotinib can occur, but is clinically benign and potentially
     persistent. No specific medical intervention is warranted (see DOSAGE AND
     ADMINISTRATION).

     Pregnant Women
     There are limited data on the use of TASIGNA in pregnant women. TASIGNA should not be used
     during pregnancy. There have been post-market reports of serious adverse events (spontaneous
     abortions, premature delivery, fetal abnormalities and/or deaths) from women who have taken
     TASIGNA during pregnancy (see ADVERSE REACTIONS, Post Market Adverse Reactions,
     Pregnancy, Puerperium and Perinatal conditions, and Congenital, Familiar and Genetic
     Disorders).
     Studies in pregnant rats and rabbits showed maternal and embryo-fetal toxicity and lethality at
     exposures to nilotinib comparable to the human exposure (see TOXICOLOGY, Reproductive
     toxicity studies). Nilotinib and/or its metabolites showed placenta transfer to the fetus which may
     account for the incidence of embryolethal and embryotoxicity (see DETAILED
     PHARMACOLOGY, Animal pharmacokinetics).

     Therefore, pregnant women must be informed of the potential harm to the fetus prior to initiation
     of TASIGNA therapy. If a patient becomes pregnant while taking TASIGNA, the benefits of
     therapy versus the potential risks of the fetus should be evaluated by the physician and the treatment
     options should be discussed with the patients.

     If a woman who is being treated with TASIGNA is considering pregnancy, treatment
     discontinuation may be envisaged based on the eligibility criteria for discontinuing treatment as
     described in sections on DOSAGE AND ADMINISTRATION There is limited data on
     pregnancies in patients while attempting TFR. If a pregnancy is planned during the TFR phase,
     the patient must be informed of a potential need to re-initiate treatment with TASIGNA during
     the pregnancy (see sections on DOSAGE AND ADMINISTRATION and WARNINGS AND
     PRECAUTIONS, Pregnant Women).

     Nursing Women
     Animal studies demonstrate that nilotinib is excreted into breast milk of rats (see
     TOXICOLOGY, Animal pharmacokinetics). Women taking TASIGNA should not breast-
     feed while taking TASIGNA and for 2 weeks after the last dose, as a risk to the infant cannot be
     excluded.




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     Male Patients
     It is not known if nilotinib is present in semen. Sexually active male patients must always use
     highly effective contraception during the treatment and for at least 4 weeks after ending TASIGNA
     therapy. There are post-market reports for pregnancies occurring in the female partners of male
     patients who were receiving TASIGNA. Outcomes include spontaneous abortions, premature
     delivery and fetal abnormalities (see ADVERSE REACTIONS, Post-Market Adverse
     Reactions).

     Therefore, male patients must be advised to inform their female sexual partners that they are taking
     TASIGNA. Male patients should also advise their female partners of the potential serious risks to
     a developing fetus should pregnancy occur during her partner’s treatment with TASIGNA.

     Females of Childbearing Potential
     Females of child-bearing potential are all females who are menstruating, or who are
     physiologically capable of becoming pregnant.

     TASIGNA can cause fetal harm should pregnancy occur (See WARNINGS AND
     PRECAUTIONS, Pregnant Women). Female of childbearing potential must be advised to use
     highly effective method of contraception while receiving TASIGNA and at least 4 weeks after
     ending treatment. Highly effective contraception is a method of birth control which results in a
     low failure rate (i.e. less than 1% per year) when used consistently and correctly. If a patient
     becomes pregnant while taking TASIGNA, the benefits of therapy versus the potential risks of the
     fetus should be evaluated by the physician and the treatment options should be discussed with the patients.

     Pediatric Patients (2-17 years of age)
     There is no experience with TASIGNA in pediatric patients below 2 years of age.

     The long-term effects of prolonged treatment with TASIGNA in pediatric patients are unknown.
     There have been case reports of growth retardation in pediatric patients treated with TASIGNA.
     Inform pediatric patients and their caregivers of the possibility of developing growth
     abnormalities (see ADVERSE REACTIONS, Growth Retardation in Pediatric Patients).
     Growth and development in pediatric patients receiving TASIGNA should be closely monitored
     (see Monitoring and Laboratory Tests).

     Discontinuation of TASIGNA treatment to attempt the treatment-free remission                     phase in
     pediatric patients has not been assessed.

     Geriatrics (≥ 65 years of age)
     Approximately 12% and 30% of subjects in the clinical studies (Phase III study (A2303) in newly
     diagnosed Ph+ CML-CP; and Phase II study (A2101) in resistant or -intolerant Ph+ CML-CP and
     CML-AP) were 65 years of age or older respectively. No major differences were observed for
     safety and efficacy in patients ≥65 years of age as compared to adults 18 to 65 years of age.




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     Monitoring and Laboratory Tests

     Complete blood counts should be performed every two weeks for the first 2 months and then
     monthly thereafter or as clinically indicated (See WARNINGS AND PRECAUTIONS).

     Electrocardiograms (ECGs) should be obtained before treatment, seven days after initiation and
     periodically thereafter, as well as following dose adjustments (See WARNINGS AND
     PRECAUTIONS and DOSAGE AND ADMINISTRATION).

     Liver function, (transaminases, total bilirubin and alkaline phosphatase) needs to be monitored
     before treatment, frequently during treatment, following dose adjustments or as clinically
     indicated (see WARNINGS AND PRECAUTIONS; DOSAGE AND ADMINISTRATION;
     TOXICOLOGY).

     Serum electrolytes (including phosphorus, potassium and magnesium) as well as serum
     lipase/amylase, fasting glucose, HbA1C, creatine kinase (CPK), uric acid, creatinine, and lactate
     dehydrogenase (LDH) levels need to be monitored before treatment and frequently during
     treatment with TASIGNA and as clinically indicated (See WARNINGS AND PRECAUTIONS
     and DOSAGE AND ADMINISTRATION).

     Patients with symptomatic PAOD should be monitored and actively managed during TASIGNA
     therapy according to standard guidelines.

     Adequate hydration should be maintained if tumor lysis syndrome is considered a substantial
     risk.

     In a Phase III study in newly diagnosed CML patients, 1.1% of the patients treated with 400 mg
     TASIGNA twice a day, had a Grade 3/4 elevation in total serum cholesterol; however, there were
     no Grade 3/4 elevations in the group receiving the recommended dose of 300 mg twice a day
     (See ADVERSE REACTIONS/Investigations). It is recommended that the lipid profiles be
     determined before initiating treatment with TASIGNA, assessed at month 3 and 6 after initiating
     therapy, and at least yearly during therapy (See ADVERSE REACTIONS and DOSAGE AND
     ADMINISTRATION/ Dose Adjustments or Modifications). If test results warrant therapy,
     physicians should follow their local standards of practice and treatment guidelines. If lipid
     lowering agents are needed, please refer to Drug-Drug Interactions section before starting
     treatment.

     Patients should be weighed and monitored regularly for signs and symptoms of fluid retention
     (see WARNINGS AND PRECAUTIONS). If therapeutic measures include the use of
     medications, please refer to Drug-Drug Interactions section before starting treatment.

     Growth and physical development should be monitored using standard parameters in pediatric
     patients receiving TASIGNA.




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     Monitoring of BCR-ABL transcript levels in patients who discontinued TASIGNA:
     Monitoring of BCR-ABL transcript levels in patients eligible for treatment discontinuation, during
     TFR and re-treatment, must be performed with a quantitative diagnostic test validated to measure
     molecular response levels with a sensitivity of at least MR4.5 (BCR-ABL/ABL ≤ 0.0032% IS).

     In patients who discontinue TASIGNA therapy, monitor complete blood count (CBC) and BCR-
     ABL transcript levels monthly for one year, then every 6 weeks for the second year, and every 12
     weeks thereafter during treatment discontinuation.

     Newly diagnosed patients must reinitiate TASIGNA therapy within 4 weeks of a loss of Major
     Molecular Response (MMR, corresponding to MR3.0 or BCR-ABL/ABL ≤ 0.1% IS).

     Patients resistant or intolerant to prior treatment which included imatinib must reinitiate
     TASIGNA therapy within 4 weeks of a loss of MMR or confirmed loss of MR4.0 (two
     consecutive measures separated by at least 4 weeks showing loss of MR4.0, corresponding to
     BCR-ABL/ABL ≤ 0.01% IS).

     For patients who fail to achieve MMR after three months of treatment re-initiation, BCR-ABL
     kinase domain mutation testing should be performed.

     Monitoring of BCR-ABL Transcript Levels in Patients who have Reinitiated Therapy after Loss
     of Molecular Response: Monitor CBC and BCR-ABL transcript levels in patients who reinitiate
     therapy due to loss of molecular response quantitation monthly until MMR is re-established and
     every 12 weeks thereafter.


     ADVERSE REACTIONS

     Adverse Drug Reaction Overview

     Sudden Cardiac Deaths
     From clinical trials including the Phase II study (A2101), the Expanded Access Program, and the
     Compassionate Use Program, 19 cases of sudden cardiac deaths have been reported out of 11,351
     patients receiving TASIGNA (uncommon frequency of 0.17%). Of the 19 cases, 13 documented
     cases had a past medical history of cardiac disease or significant cardiac risk factors for sudden
     cardiac death. In 4 of the 19 cases of sudden cardiac death, patients had no prior medical history
     of cardiac disease. Comorbidities in addition to the underlying malignancy were also frequently
     present as were concomitant medications. Ventricular repolarization abnormalities may have
     been contributory factors. No cases of sudden cardiac deaths have been reported in any treatment
     group in the newly diagnosed Ph+ CML-CP Phase III study.

     Clinical Trial Adverse Drug Reactions

     Summary of the safety profile
     The TASIGNA safety profile described below is based on data from adult patients with newly
     diagnosed Ph+ CML-CP in a randomized, open label, active comparator-controlled Phase-III trial




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     and adult patients with resistant or intolerant Ph+ CML-CP and CML-AP which served as a basis
     for the market authorized indications (see Table 1 and INDICATIONS AND CLINICAL USE).
     Safety information from two TASIGNA treatment discontinuation studies (I2201 and A2408) is
     also provided.


     In adult patients with newly diagnosed Ph+ CML-CP
     The data reported below reflect exposure to TASIGNA from a randomized Phase III study
     (A2303) in adult patients with newly diagnosed Ph+ CML in chronic phase (CP) treated at the
     recommended dose of TASIGNA 300 mg twice daily (N=279), with a median time on treatment
     of 60.5 months (range 0.1 – 70.8 months). Among the patients with newly diagnosed Ph+ CML-
     CP treated with TASIGNA at 400 mg twice daily (N=277), the median time on treatment was
     60.7 months (range 0.2 –71.8 months).
     The very common (≥10%) non-hematologic adverse drug reactions (ADRs) were rash, pruritus,
     headache, nausea, alopecia, myalgia, and fatigue in the TASIGNA 300 mg twice daily group and
     400 mg twice daily group. Most of these ADRs were mild to moderate in severity (Grade 1 or 2).
     Upper abdominal pain was very frequent in the 300 mg twice daily group and less frequent in the
     400 mg twice daily group, whereas arthralgia and dry skin were very frequent in the 400 mg twice
     daily group and less frequent in the 300 mg twice daily group.
     Diarrhea, constipation, muscle spasms, vomiting, abdominal pain, peripheral oedema, dyspepsia,
     and asthenia were less frequent (< 10% and ≥ 5%) in the TASIGNA 300 mg twice daily group
     and 400 mg twice daily group. They were mild to moderate severity, manageable and generally
     did not require dose reduction. In addition, erythema, and bone pain were less frequent (< 10%
     and ≥ 5%) in the 300 mg twice daily group whereas pain in the extremity was observed less
     frequently (< 10% and ≥ 5%) in the 400 mg twice daily group.

     Pleural and pericardial effusions occurred in <1% of patients, receiving TASIGNA 300 mg twice
     daily and TASIGNA 400 mg twice daily. Grade 3 or 4 pleural effusion occurred in a patient
     receiving TASIGNA 300 mg twice daily.
     Gastrointestinal hemorrhage, regardless of causality, was reported in 3% in patients receiving
     TASIGNA 300 mg twice daily and in 5% patients receiving TASIGNA 400 mg twice daily.

     The maximum QTcF mean increase from baseline in the TASIGNA 300 mg twice daily group
     was 12.3 msec (two-sided 90% Upper CI: 14.4) and the maximum QTcF mean increase from
     baseline in the TASIGNA 400 mg twice daily group was 12.9 msec (two-sided 90% Upper
     CI:15.1).

     No patient had an absolute QTcF of >500 msec while on treatment drug in any of the TASIGNA
     treatment groups and no events of Torsades de Pointes were observed. One patient in the 400 mg
     twice daily arm had an absolute QTcF of >480 msec. QTcF increase from baseline that exceeds
     60 msec was observed in 5 patients while on TASIGNA (one in the TASIGNA 300 mg twice
     daily treatment group and four in the TASIGNA 400 mg twice daily treatment group). No patients
     in any treatment group had a LVEF <45% during treatment. Also, there were no patients with
     15% or greater decrease from baseline in LVEF.




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     No sudden cardiac deaths have been reported in any treatment group.
     Hematologic ADRs include myelosuppression in patients receiving TASIGNA 300 mg twice
     daily and 400 mg twice daily respectively: thrombocytopenia (18%; 20%), neutropenia (15%;
     11%), and anemia (8%; 9%). Biochemistry ADRs in patients receiving TASIGNA 300 mg twice
     daily and 400 mg twice daily, respectively include: alanine aminotransferase increased (24%;
     29%), hyperbilirubinemia (17%; 17%), aspartate aminotransferase increased (12%; 15%), lipase
     increased (11%; 10%), blood bilirubin increased (10%; 14%), hyperglycemia (4%; 5%),
     hypercholesterolemia (3%; 6%), and hypertriglyceridemia (<1%; 1%). See Table 2 for Grade 3/4
     laboratory abnormalities.
     Discontinuation due to adverse drug reactions was observed in 10% of patients receiving
     TASIGNA 300 mg twice daily and in 17% of patients receiving TASIGNA 400 mg twice daily.

     In adult patients with resistant or intolerant Ph+ CML-CP and CML-AP
     The data reported below reflect exposure to TASIGNA in 458 adult patients with Ph+ CML-CP
     and CML-AP resistant to or intolerant to at least one prior therapy including imatinib (321 CML-
     CP patients and 137 CML-AP patients, respectively) in an open-label multicenter study. Patients
     were treated at the recommended dose of 400 mg twice daily.

     Non-hematologic adverse drug reactions (ADRs) reported with very common frequency (≥10%
     in the combined CML-CP and CML-AP patient populations) were rash, pruritus, nausea, fatigue,
     headache, constipation and diarrhea, vomiting and myalgia. Most of these ADRs were mild to
     moderate in severity. Alopecia, muscle spasms, decreased appetite, arthralgia, bone pain,
     abdominal pain, peripheral oedema and asthenia were observed less frequently (<10% and ≥5%)
     and have been of mild to moderate severity (Grade 1 or 2).

     Pleural and pericardial effusions as well as complications of fluid retention occurred in <1% of
     patients receiving TASIGNA.

     Cardiac failure was observed in <1% of patients. QTcF exceeding 500 msec was observed in this
     study in 4 patients (< 1%). No episodes of Torsades de Pointes (transient or sustained) were
     observed.

     Gastrointestinal and CNS hemorrhage was reported in 1% and <1% of patients, respectively.
     Hematologic ADRs include myelosuppression: thrombocytopenia (31%), neutropenia (17%),
     and anemia (14%). See Table 2 for Grade 3/4 laboratory abnormalities.
     Discontinuation due to adverse drug reactions was observed in 16% of CP and 10% of AP
     patients.

     Most Frequently Reported Adverse Drug Reactions
     Non-hematologic ADRs (excluding laboratory abnormalities) that were reported in at least 5%
     of the adult patients in any of the TASIGNA clinical studies that serve as a basis for the listed
     indications are shown in Table 1. These are ranked under heading of frequency, the most frequent
     first.Within each frequency grouping adverse drug reactions are presented in order of decreasing
     seriousness. In addition the corresponding frequency category for each adverse drug reaction is




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     based on the following convention: very common (≥ 10%) or common (≥ 1% to < 10%). The
     frequency is based on the highest for any TASIGNA group in the two studies, using one decimal
     precision for percentages.

     Table 1 Most Frequently Reported Non-hematologic Adverse Drug Reactions (≥ 5% in
     any adult TASIGNA Group)




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                                                               Newly Diagnosed Ph+ CML-CP                                   Resistant or Intolerant Ph+ CML-CP
                                                                     60 month analysis                                                       and
                                                                                                                                          CML-AP
                                                                                                                                      24-month analysis
                                    TASIGNA          TASIGNA       GLEEVEC®     TASIGNA         TASIGNA       GLEEVEC®                         TASIGNA
                                      300 mg           400 mg      400 mg       300 mg          400 mg          400 mg                     400 mg twice daily
                                    twice daily      twice daily   once daily   twice daily     twice daily    once daily
                                                  ALL Grades (%)                              Grade 3/4 (%)                 ALL Grades     Grade     CML-CP            CML
                                                                                                                               (%)           3/4     Grade 3/4          -AP
                                                                                                                                            (%)        (%)             Grade
                                                                                                                                                                      3/4 (%)
System         Adverse Reaction      N=279            N=277          N=280         N=279          N=277        N=280
                                                                                                                              N=458       N=458       N=321           N=137
Organ                                 %                %              %             %              %            %
                                                                                                                               %           %           %               %
Class
 Metabolism    Decreased                4                4             3                 0           0            0             8           <1            <1              0
 and           appetite1
 nutrition
 disorders
 Nervous       Headache                16                22            10                2           1            <1           15            1             2              <1
 system
 disorders
Gastro         Nausea                  14                21            35             <1            1             <1           20           <1            <1              <1
intestinal     Constipation            10                7             3              0             <1            0            12           <1            <1              0
disorders                               9                7             31             <1            0             3            11           2             2               <1
               Diarrhea
               Vomiting                 6                9             19             0             1             0            10           <1            <1              0
               Abdominal pain          10                9             8              1             0             <1            5           <1            <1              0
               upper
               Abdominal pain           6                6             4              0             <1            0             6           <1            <1              <1
               Dyspepsia                5                5             6              0             <1            0             3           0             0               0
Skin and       Rash                    33                39            14             <1            3             2            28           1             2               0
subcutaneous   Pruritus                18                16            5              <1            <1            0            24           <1            <1              0
tissue
               Alopecia                10                14            6              0             0             0             9           0             0               0
disorders




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                 Dry Skin                    10                12                5                 0              0               0                  5              0            0                   0
                 Erythema                    3                 6                 3                 0              0               0                  5             <1            <1                  0
Musculo          Myalgia                     10                12                13               <1              <1              <1                10             <1            <1                  <1
skeletal         Arthralgia                  8                 10                8                <1              0               <1                 7             <1             1                  0
and              Muscle spasms               9                 9                 30                0              <1              1                  8             <1            <1                  0
connective       Bone pain                   4                 5                 4                 0              <1              <1                 6             <1            <1                  0
tissue
disorders        Pain in extremity           5                 3                 8                <1              <1              <1                 5             <1            <1                  <1
General          Fatigue                     12                11                13                0              <1               1                17              1             1                  <1
disorders        Asthenia                    9                 5                 9                <1              <1               0                 6              0             0                  0
and                                                                                                                                                  6              0             0                  0
                 Oedema peripheral            5                 7                18               <1               0               0
administra
tion site
conditions

             1
              Also includes preferred term anorexia
              Percentages are rounded to integer for presentation in this table. However, percentages with one decimal precision are used to identify terms with a frequency of at least 5% and to
             classify terms according to frequency categories




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     Less Common Clinical Trial Adverse Drug Reactions (< 5%)

     Additional Data from Clinical Trials (Studies A2101 and A2303)
     The following adverse drug reactions (ADRs) were reported in adult patients in the TASIGNA
     clinical studies which serve as a basis for the listed indications at the recommended doses at a
     frequency of less than 5% (common is ≥ 1% to < 10%; uncommon is >0.1% to <1%); (single
     events are captured as Unknown in frequency Unknown). For laboratory abnormalities, very
     common events (≥10%) not included in Table 1 are also reported. These adverse reactions are
     included based on clinical relevance and ranked in order of decreasing seriousness within each
     category, obtained from two clinical studies: 1. Newly diagnosed Ph+ CML-CP 60 months’
     analysis and 2. Resistant or intolerant Ph+ CML-CP and CML-AP 24 months’ analysis.
     Cardiac Disorders:
     Common: angina pectoris, arrhythmia (including atrioventricular block, cardiac flutter,
     extrasystoles, atrial fibrillation, tachycardia, bradycardia), cardiac failure, palpitations,
     electrocardiogram QT prolonged.
     Uncommon: myocardial infarction, coronary artery disease, cardiac murmur pericardial effusion,
     deep vein thrombosis, cyanosis
     Unknown frequency: myocarditis, ventricular dysfunction, pericarditis, ejection fraction
     decrease, congenital transposition of great vessels in neonate (fatal), ventricular arrhythmia,
     cardiac valve disorders

     Infections and Infestations:
     Common: folliculitis, upper respiratory tract infection (including pharyngitis, nasopharyngitis,
     rhinitis).
     Uncommon: pneumonia, bronchitis, urinary tract infection, herpes virus infection, candidiasis
     (including oral candidiasis), gastroenteritis
     Unknown frequency: sepsis, subcutaneous abscess, anal abscess, furuncle, tinea pedis, hepatitis
     B virus reactivation.

     Neoplasms Benign, Malignant and Unspecified:
     Common: skin papilloma.
     Unknown frequency: oral papilloma, paraproteinemia.

     Blood and Lymphatic System Disorders:
     Common: leukopenia, eosinophilia, febrile neutropenia, pancytopenia, lymphopenia.
     Unknown frequency: thrombocythemia, leukocytosis.

     Endocrine Disorders:
     Uncommon: hyperthyroidism, hypothyroidism.
     Unknown frequency: hyperparathyroidism secondary, thyroiditis.

     Metabolism and Nutrition Disorders:
     Very common: hypophosphatemia (including blood phosphorus decreased).
     Common: electrolyte imbalance (including hypomagnesemia, hyperkalemia, hypokalemia,
     hyponatremia, hypocalcemia, hypercalcemia, hyperphosphatemia), diabetes mellitus




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     (uncommonly specified as Types 1 or 2 diabetes mellitus), hyperglycemia,
     hypercholesterolemia, hypertriglyceridemia, hyperlipidemia.
     Uncommon: gout, dehydration, increased appetite, new-onset diabetes, dyslipidemia
     Unknown frequency: hyperuricemia, hypoglycemia.

     Psychiatric Disorders:
     Common: depression, insomnia, anxiety.
     Unknown frequency: disorientation, confusional state, amnesia, dysphoria.

     Nervous System Disorders:
     Common: dizziness, peripheral neuropathy, hypoaesthesia, paresthesia.
     Uncommon: intracranial hemorrhage, ischemic stroke, transient ischemic attack, cerebral
     infarction, migraine, loss of consciousness (including syncope), tremor, disturbance in attention,
     hyperesthesia.
     Unknown frequency: cerebrovascular accident, basilar artery stenosis, brain oedema, optic
     neuritis, lethargy, dysaesthesia, restless legs syndrome.

     Eye Disorders:
     Common: eye hemorrhage, periorbital oedema, eye pruritus, conjunctivitis, dry eye (including
     xerophthalmia).
     Uncommon: vision impairment, vision blurred, visual acuity reduced, eyelid oedema, photopsia,
     hyperaemia (scleral, conjunctival, ocular), eye irritation, conjunctival hemorrhage.
     Unknown frequency: papilloedema, diplopia, photophobia, eye swelling,
     blepharitis, eye pain, chorioretinopathy, conjunctivitis allergic, ocular surface disease.

     Ear and Labyrinth Disorders:
     Common: vertigo.
     Unknown frequency: hearing impaired, ear pain, tinnitus.

     Immune System Disorders:
     Unknown frequency: vasculitis (cerebral, leukocytoclastic), hypersensitivity.

     Vascular Disorders:
     Common: hypertension, flushing.
     Uncommon: hypertensive crisis, peripheral arterial occlusive disease (including femoral artery
     stenosis), coronary artery stenosis, carotid artery stenosis, arterial stenosis limb, cerebrovascular
     accident, hematoma, arteriosclerosis.
     Unknown frequency: shock hemorrhagic, arteriosclerosis obliterans, hypotension, thrombosis,
     cerebral infarction, cerebral hemorrhage, amnestic disorder, peripheral vascular disorder,
     intermittent claudication, vasculitis, circulatory collapse, venous stenosis, arterial disorder,
     femoral artery occlusion, aortic arteriosclerosis, peripheral ischaemia, arterial occlusive disease,
     arteritis obliterans, extravasation blood, vascular graft occlusion, peripheral artery stenosis.

     Respiratory, Thoracic and Mediastinal Disorders:
     Common: dyspnea, dyspnea exertional, epistaxis, cough, dysphonia.
     Uncommon: pulmonary oedema, pleural effusion, interstitial lung disease, pleuritic pain, pleurisy,
     pharyngolaryngeal pain, throat irritation.



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     Unknown frequency: pulmonary hypertension, wheezing, oropharyngeal pain.

     Gastrointestinal Disorders:
     Common: acute pancreatitis, abdominal discomfort, abdominal distension, dyspepsia, dysgeusia,
     flatulence.
     Uncommon: gastrointestinal hemorrhage, melaena, mouth ulceration, gastroesophageal reflux,
     stomatitis, oesophageal pain, dry mouth, gastritis, sensitivity of teeth.
     Unknown frequency: gastrointestinal ulcer perforation, retroperitoneal hemorrhage, hematemesis,
     gastric ulcer, esophagitis ulcerative, subileus, enterocolitis, hemorrhoids, hiatus hernia, rectal
     hemorrhage, gingivitis.

     Hepatobiliary Disorders:
     Very common: hyperbilirubinemia (including blood bilirubin increased).
     Common: hepatic function abnormal.
     Uncommon: hepatic failure, hepatotoxicity, toxic hepatitis, ascites, jaundice.
     Unknown frequency: cholestasis, hepatic necrosis, hepatic steatosis, hepatomegaly.

     Skin and Subcutaneous Tissue Disorders:
     Common: night sweats, eczema, urticaria, hyperhidrosis, contusion, acne, dermatitis, (including
     allergic, exfoliative and acneiform).
     Uncommon: exfoliative rash, drug eruption, pain of skin, ecchymosis, swelling face.
     Unknown frequency: psoriasis, erythema multiforme, skin fissures, erythema nodosum, skin
     ulcer, palmar-plantar erythrodysaesthesia syndrome, petechiae, photosensitivity, blister, dermal
     cyst, sebaceous hyperplasia, skin atrophy, skin discolouration, skin exfoliation, skin
     hyperpigmentation, skin hypertrophy, hyperkeratosis.

     Musculoskeletal and Connective Tissue Disorders:
     Common: musculoskeletal chest pain, musculoskeletal pain, back pain, neck pain, flank pain,
     muscular weakness.
     Uncommon: musculoskeletal stiffness, joint swelling.
     Unknown frequency: rhabdomyolysis, arthritis.

     Renal and Urinary Disorders:
     Common: pollakiuria.
     Uncommon: dysuria, micturition urgency, nocturia, acute renal failure.
     Unknown frequency: renal failure, hematuria, urinary incontinence, chromaturia.

     Reproductive System and Breast Disorders:
     Uncommon: breast pain, gynecomastia, erectile dysfunction.
     Unknown frequency: breast induration, menorrhagia, nipple swelling.

     General Disorders and Administration Site Conditions:
     Common: pyrexia, chest pain (including non-cardiac chest pain), pain chest discomfort, malaise.
     Uncommon: face edema, gravitational edema, influenza-like illness, chills, feeling body
     temperature change (including feeling hot, feeling cold).
     Unknown frequency: localised oedema.




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     Investigations:
     Very common: alanine aminotransferase increased, aspartate aminotransferase increased, lipase
     increased, lipoprotein cholesterol (including low density and high density) increased, total
     cholesterol increased, blood triglycerides increased.
     Common: prothrombin time (INR) increased1, hemoglobin decreased, blood amylase increased,
     gamma-glutamyltransferase increased, blood creatine phosphokinase increased, blood alkaline
     phosphatase increased, weight decreased, blood insulin increased, weight increased, globulins
     decreased.
     Uncommon: blood lactate dehydrogenase increased, blood urea increased.
     Unknown frequency: troponin increased, blood potassium decreased, blood bilirubin
     unconjugated increased, blood insulin decreased, insulin C-peptide decreased, blood parathyroid
     hormone increased.
     1
      Prolongation of prothrombin time (INR) was reported with common frequency in patients receiving TASIGNA,
     however causal relationship with TASIGNA has not been confirmed.

     Second malignancies in TASIGNA-treated patients:
     There are reports of second cancers (gastric cancer, gastrointestinal stromal tumour, pancreatic
     carcinoma, pancreatic neuroendocrine tumour, colon cancer, malignant melanoma in situ,
     ovarian epithelial cancer, skin cancer, and squamous cell carcinoma) in pooled clinical trials of
     patients treated with TASIGNA.


     Abnormal Hematologic and Clinical Chemistry Findings – Adults
     Clinically relevant or severe abnormalities of routine hematologic or biochemistry laboratory
     values in adult patients are presented in Table 2.

     Table 2            Grade 3/4 Laboratory Abnormalities

                                        Newly diagnosed Adult Ph+ CML-CP                  Resistant or intolerant
                                                                                                Adult Ph+

                                                                                        CML-CP           CML-AP
                                       TASIGNA          TASIGNA        GLEEVEC         TASIGNA         TASIGNA
                                         300 mg           400 mg        400 mg            400 mg          400 mg
                                       twice daily      twice daily    once daily       twice daily     twice daily
                                        N = 279          N = 277        N = 280           N=321           N=137

  Hematologic parameters
  Myelosuppression
   Neutropenia                            12%              11%             22%             31%              42%
   Thrombocytopenia                       10%              12%              9%             30%              42%
   Anemia                                  4%               5%              6%             11%              27%
  Biochemistry parameters
   Elevated creatinine                     0%               0%             <1%              1%              <1%
   Elevated lipase                         9%              10%              4%             18%              18%



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    Elevated SGOT (AST)                             1%                   3%                  1%                 3%               2%
    Elevated SGPT (ALT)                             4%                   9%                  3%                 4%               4%
    Hypophosphatemia                                8%                  10%                 10%                17%              15%
    Elevated Bilirubin (total)                      4%                   9%                 <1%                 7%               9%
    Hyperglycemia                                   7%                   7%                 <1%                12%               6%
    Hyperkalemia                                    2%                   1%                  1%                 6%               4%
    Hyponatremia                                    1%                   1%                 <1%                 7%               7%
    Hypokalemia                                    <1%                   1%                  2%                 2%               9%
    Hypocalcemia                                   <1%                  <1%                 <1%                 2%               5%
    Decreased albumin                               0%                   0%                 <1%                 4%               3%
    Elevated alkaline                               0%                   0%                 <1%
                                                                                                               <1%              1%
    phosphatase
  Elevated cholesterol (total)                       0                   1%                  0%                **                **
  Elevated triglycerides                            0%                  <1%                  0%                **                **
      Percentages with one decimal precision are used and rounded to integer for presentation in this table.
      * parameter not collected




      Abnormal Electrocardiographic (ECG) Findings - Adults

      In the Phase III study (A2303) in adults newly diagnosed with Ph+ CML-CP, no patient had an
      absolute QTcF exceeding 500 msec while on treatment in any of the treatment groups. QTcF
      increase from baseline that exceeds 60 msec was observed in 1 patient (0.4%) in the TASIGNA
      300 mg twice daily treatment group and 4 (1.4%) in the TASIGNA 400 mg twice daily treatment
      group (See Table 3). No episodes of Torsades de Pointes were observed.

      In the Phase II study (A2101) in adults with imatinib-resistant or -intolerant CML in CP and AP,
      QTcF exceeding 500 msec was observed in 4 patients (1.2%) of CML-CP patients. QTcF
      > 60 msec increase from baseline was observed in the combined CML-CP and –AP patient
      populations (CML-CP 8 (2.5%) and CML-AP 11 (8%) (See Table 4). No episodes of Torsades
      de Pointes (transient or sustained) were observed (see WARNINGS AND PRECAUTIONS and
      ADVERSE REACTIONS).

      Table 3 Number (%) of newly diagnosed Ph+ CML-CP adult patients with notable values
      in QTcF intervals-Study A2303

   ECG Parameter                                      TASIGNA                        TASIGNA                    GLEEVEC
                                                        300 mg                         400 mg                     400 mg
                                                      twice daily                    twice daily                once daily
                                                       N = 279                        N = 277                     N= 280
                                                         n (%)                          n (%)                      n (%)
   Increase from baseline > 30 msec                    94 (33.7)                      91 (32.9)                  82 (29.3)

   Increase from baseline > 60 msec                      1 (0.4)                        4 (1.4)                      4 (1.4)




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   Absolute value > 450 msec                     32 (11.5)                   40 (14.4)       41 (14.6)

   Absolute value > 480 msec                          0                       1 (0.4)         2 (0.7)
   Absolute value > 500 msec                          0                           0           1 (0.4)



     Table 4     Number (%) of imatinib- resistant or -intolerant Ph+ CML-CP and CML-AP
                adult patients with notable values in QTcF intervals-Studies 2101E2 and 2101E1


     ECG Parameter                          CML-CP (2101E2)                CML-AP (2101E1)       Total
                                                N= 321                         N= 137           N= 458
                                                n (%)                          n (%)             n (%)
     Increase from baseline > 30              144 (44.9)                      65 (47.4)        209 (45.6)
     msec
     Increase from baseline > 60                   8 (2.5)                        11 (8.0)       19 (4.1)
     msec
     Absolute value > 450 msec                    51(15.9)                           24         75(16.4)

     Absolute value > 480 msec                     7 (2.2)                         4 (2.9)       11(2.4)
     Absolute value > 500 msec                     4 (1.2)                         0 (0.0)       4 (0.9)
     n= number of patients who meet the criterion for at least one post-baseline value.



     Treatment discontinuation in Ph+ CML-CP patients who have achieved a sustained
     molecular response (MR4.5)

     In eligible patients who discontinued TASIGNA therapy after attaining a sustained MR4.5,
     musculoskeletal symptoms (e.g. myalgia, pain in extremity, arthralgia, bone pain, spinal pain, or
     musculoskeletal pain), were reported more frequently than before treatment discontinuation in
     the first year, as noted in Table 5. The frequency of new musculoskeletal symptoms generally
     decreased in the second year after treatment discontinuation.

      In the newly diagnosed population in whom musculoskeletal symptoms occurred at any time
      during the TFR phase, for 23/53 patients (43.4%) the event had not resolved by the TFR end date
      or as of the 96-weeks TFR analysis data cut-off date. In the population previously treated with
      imatinib in whom musculoskeletal events occurred at any time during the TFR phase, for 32/57
      patients (56.1%) the event had not resolved by the TFR end date or by the data cut-off date.
      The frequency of musculoskeletal symptoms decreased in patients who entered the TASIGNA
      treatment re-initiation (NTRI) phase, to 11/88 patients (12.5%) in the newly diagnosed population
      and to 14/56 patients (25%) in the population previously treated with imatinib. Other adverse
      reactions observed in the TASIGNA re-treatment phase were similar to those observed during
      TASIGNA use in patients with newly diagnosed Ph+ CML-CP and resistant or intolerant Ph+
      CML-CP and CML-AP.




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     Table 5 Musculoskeletal symptoms occurring upon treatment discontinuation in the
     context of treatment-free remission (TFR)

                      Entire TFR period in all TFR     By time interval, in subset of patients in TFR greater than
                                 patients                                        48 weeks
      Ph+ CML-             Median      Patients with         Year prior to          1st year          2nd year after
      CP patients     N    follow- musculoskeletal     N       TASIGNA         after TASIGNA            TASIGNA
                            up in       symptoms            discontinuation discontinuation          discontinuation
                            TFR         All    Grade          All    Grade        All     Grade       All     Grade
                                      grades     3/4        grades     3/4      grades      3/4     grades      3/4
         Newly               76
       Diagnosed     190    weeks     27.9%     1.1%   100   17.0%     0%       34.0%     2.0%      9.0%      0%
       Previously
      treated with   126    99       45.2%    2.4%     73    13.7%     0%       47.9%     2.7%     15.1%      1.4%
        imatinib           weeks




     Safety of TASIGNA in Pediatric Patients with Newly Diagnosed or Resistant/Intolerant Ph+
     CML-CP
     The safety of TASIGNA in pediatric patients (from 2 to <18 years of age) with Ph+ CML-CP
     (N=69) has been investigated in two open-label single arm studies, (Phase II, CAMN107A2203
     and Phase I, CAMN107A2120) (see CLINICAL TRIALS). The frequency, type and severity
     of observed adverse reactions have been generally consistent with those observed in adults. The
     most common newly occurring or worsening hematological laboratory abnormalities (≥ 30% of
     patients, all grades) were decreases in total white blood cells (54%), platelet count (44%),
     absolute neutrophils (41%), absolute lymphocytes (32%), and hemoglobin (30%). The most
     common (>20%) non-hematologic adverse drug reactions were headache, rash, blood bilirubin
     increased, alanine aminotransferase increased, pyrexia, nausea, upper respiratory tract infection,
     aspartate aminotransferase increased and vomiting. Liver-related laboratory abnormalities of
     hyperbilirubinaemia (Grade 3/4: 13.0%) and transaminase elevation (AST Grade 3/4: 1.4%, ALT
     Grade 3/4: 8.7%) were reported at a higher frequency than in adult patients. Bilirubin and hepatic
     transaminase levels should be monitored during treatment (see DOSAGE AND
     ADMINISTRATION and Monitoring and Laboratory Tests). Increase in QTcF >30 msec
     from baseline was observed in 17 pediatric patients (25%). Increase in QTcF >450 msec was
     observed in 4 pediatric patients (6.0%), increase in QTcF > 480 msec was observed in 3 pediatric
     patients (4.4 %). No patient had an absolute QTcF > 500msec or QTcF increase of > 60 msec
     from baseline.

     Growth Retardation in Pediatric Patients:
     In the Phase II pediatric study CAMN107A2203 (n=58), with a median exposure of 33 months
     to TASIGNA, adverse drug reactions of mild and moderate severity associated with growth and
     deceleration of growth in regard to the height were reported in 3 patients (5.2%) including growth
     retardation in 2 adolescent patients and growth hormone deficiency with body height below
     normal in the remaining patient (10 to 13 years old). Twelve percent (n = 7) of patients had growth
     deceleration as demonstrated by a decrease of two main height percentile lines (percentile lines:




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     5 th, 10th, 25th , 50th, 75th, 90th, and 95th) on their growth chart during their treatment with
     TASIGNA.
     No negative effects were observed in relation to the bone age or bone biomarkers and no delayed
     puberty was observed.

     Post-Market Adverse Reactions

     The following adverse reactions have been derived from post marketing experience with
     TASIGNA via spontaneous case reports, literature cases, expanded access programs, and clinical
     studies other than the global registration trials. The criteria for including these adverse reactions
     is based on the seriousness. Because these reactions are reported voluntarily from a population
     of uncertain size, it is not always possible to reliably estimate their frequency or establish a causal
     relationship to drug exposure.
     Blood and lymphatic: splenic infarction
     Cardiovascular: anaphylaxis, cardiac tamponade (fatal), Torsades de Pointes, tricuspid valve
     incompetence, aortic valve sclerosis, coeliac artery stenosis, disseminated intravascular
     coagulation,
     Congenital, familial and genetic: Encephalocele, omphalocele, transposition of great vessels,
     venous angioma of brain, cerebellar hypoplasia

     Ear and labyrinth: deafness

     Endocrine and Metabolism: fluid overload, tumor lysis syndrome

     Eye: cataract, blindness, conjunctivitis, ocular hyperaemia, visual impairment, eye
     haemorrhage, periorbital oedema, retinal haemorrhage, optic nerve infarction, optic ischaemic
     neuropathy, arteriosclerotic retinopathy, optic neuropathy, retinal artery occlusion, optic neuritis

     General: gait disturbance
     Hepatobiliary: hepatorenal syndrome, diverticular perforation, intestinal perforation, gastric
     ulcer haemorrhage
     Immune: aphthous stomatitis
     Infections and infestations: Clostridium difficile colitis, lower respiratory tract infection, pelvic
     abscess, pneumonia primary atypical, septic shock, swine influenza
     Injury, poisoning and procedural complications: In-stent arterial restenosis
     Investigations: blood phosphorus increased, positive Rombergism, urine output decreased
     Neoplasms benign, malignant and unspecified (incl cysts and polyps): biliary adenoma,
     biliary neoplasm, lung neoplasm malignant, renal cancer, transitional cell carcinoma, lymphoma,
     leukemia, myelodysplastic syndrome, skin papilloma, thyroid neoplasm, oesophageal
     adenocarcinoma, throat cancer, rhabdomyosarcoma, metastases to central nervous system,
     malignant lung neoplasm, bronchial carcinoma, acute lymphocytic leukemia, acute leukemia,
     squamous cell carcinoma of skin, malignant melanoma, penis carcinoma, carcinoid tumour of




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     small bowel, ovarian cancer, basal cell carcinoma, myelofibrosis, colon cancer, gastrointestinal
     stromal tumour

     Nervous system: convulsion, hepatic encephalopathy, intracranial pressure increased, spinal
     cord infarction, paralysis, IIIrd nerve paralysis, VIth nerve paralysis, cerebellar infarction, brain
     herniation, facial paralysis

     Pregnancy, puerperium and perinatal conditions: Spontaneous abortions, stillbirth, and foetal
     death

     Psychiatric: bipolar disorder, hallucination

     Renal and urinary: calculus ureteric, tubulointerstitial nephritis, urine flow decreased

     Respiratory: acute respiratory distress syndrome, acute respiratory failure, bronchospasm,
     hypoxia, pulmonary embolism, respiratory failure, tachypnoea

     Skin and subcutaneous: Stevens-Johnson syndrome, skin necrosis, palmar-plantar
     erythrodysaesthesia syndrome, exfoliative dermatitis, toxic epidermal necrolysis

     Vascular: venous insufficiency, vertebral artery occlusion, cerebral artery stenosis, carotid
     artery thrombosis, carotid artery occlusion, cerebral artery occlusion, arterial occlusive disease,
     necrotising vasculitis, aortic stenosis, peripheral embolism, arterial haemorrhage, embolism
     venous, venous thrombosis, vascular occlusion, veno-occlusive disease


     DRUG INTERACTIONS

     Overview

     Drug-Drug Interactions


                                  Serious Drug and Drug-Food Interactions

           CYP3A4 inhibitors should be avoided as they can increase nilotinib serum
            concentrations.
           Concomitant use of drugs that prolong QT interval should be avoided.
           Co-administration with drugs with a narrow therapeutic index and that are eliminated by
            certain enzymes.
           TASIGNA absorption is increased if taken with food. TASIGNA must not be taken with
            food and should be taken 2 hours after a meal. No food should be consumed at least 1
            hour after the drug is taken.




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     Nilotinib is mainly metabolized in the liver, and is also a substrate for the multi-drug efflux pump,
     P-glycoprotein (P-gp). Therefore, absorption and subsequent elimination of systemically
     absorbed nilotinib may be influenced by drugs that affect CYP3A4 and/or P-gp. Interaction
     studies have not been performed in the pediatric population.

     Drugs That May Increase Nilotinib Serum Concentrations
     The administration of TASIGNA with agents that are strong CYP3A4 inhibitors should be
     avoided. Should treatment with any of these agents be required, it is recommended that therapy
     with TASIGNA be interrupted if possible. If transient interruption of treatment with TASIGNA
     is not possible, close monitoring of the individual for prolongation of the QT interval is indicated
     (see DOSAGE AND ADMINISTRATION and ACTION AND CLINICAL
     PHARMACOLOGY).

     In a Phase I study of nilotinib given in combination with imatinib (a substrate of P-gp and
     CYP3A4), both drugs had individually an inhibitory effect on CYP3A4 and/or P-gp. When the
     two drugs were administered concomitantly, the AUC of imatinib was increased by 18% to 39%,
     and the AUC of nilotinib was increased by 18% to 40%.

     The bioavailability of nilotinib in healthy subjects was increased by 3-fold when co-administered
     with the strong CYP3A4 inhibitor ketoconazole. Concurrent treatment with strong CYP3A4
     inhibitors should therefore be avoided (including but not limited to ketoconazole, itraconazole,
     voriconazole, ritonavir, clarithromycin, and telithromycin). For additional drugs, also refer
     to http://www.intermed-rx.ca (see DOSAGE AND ADMINISTRATION and WARNINGS
     AND PRECAUTIONS regarding QT prolongation). Alternative concomitant medications with
     no or minimal CYP3A4 inhibition should be considered.

     Drugs That May Decrease Nilotinib Serum Concentrations
     In healthy subjects receiving the CYP3A4 inducer, rifampicin, at 600 mg daily for 12 days,
     systemic exposure (AUC) to TASIGNA was decreased approximately 80%.

     Inducers of CYP3A4 activity could increase the metabolism of nilotinib and thereby decrease
     plasma concentrations of nilotinib. The concomitant administration of medications that induce
     CYP3A4 (e.g. phenytoin, rifampin carbamazepine, phenobarbital, and St. John’s Wort)
     may reduce exposure to nilotinib to a clinically relevant extent. In patients for whom CYP3A4
     inducers are indicated, concomitant use of alternative therapeutic agents with less potential for
     CYP3A4 enzyme induction potential should be considered. For additional drugs, also refer to
     http://www.intermed-rx.ca.

     Nilotinib has pH-dependent solubility, with lower solubility at higher pH. In 22 healthy subjects
     receiving multiple doses of esomeprazole at 40 mg once daily for 5 days, gastric pH was markedly
     increased. Co-administration of a single 400 mg dose of nilotinib and 40 mg esomeprazole was
     associated with a modest decrease in nilotinib absorption (27% decrease in nilotinib C max and
     34% decrease in nilotinib AUC0-∞). TASIGNA may be used concurrently with esomeprazole or
     other proton pump inhibitors as needed.

     In a study with 52 healthy subjects, no significant change in nilotinib pharmacokinetics was
     observed when a single 400 mg dose of TASIGNA was administered 10 hours after and 2 hours



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     before famotidine. Therefore, when the concurrent use of an H2 blocker is necessary, it may be
     administered approximately 10 hours before and approximately 2 hours after the dose of
     TASIGNA.

     In the same study as above, administration of a “non-absorbable” antacid (aluminum
     hydroxide/magnesium hydroxide/simethicone) 2 hours before or after a single 400 mg dose of
     TASIGNA also did not alter nilotinib pharmacokinetics. Therefore, if necessary, a “non-
     absorbable” antacid may be administered approximately 2 hours before or approximately 2 hours
     after the dose of TASIGNA.

     Drugs That May Have Their Systemic Concentration Altered By Nilotinib
     In vitro nilotinib is identified as a competitive inhibitor of CYP3A4, CYP2C8, CYP2C9, and
     CYP2D6 and UGT1A1, with Ki value being lowest for CYP2C9 (Ki=0.13 μM) (Substrates of
     UGT1A1: including but not limited to buprenorphine, phenytoin). A single-dose drug-drug
     interaction study with 25 mg warfarin, a sensitive CYP2C9 substrate, and 800 mg nilotinib was
     conducted in 24 healthy subjects. Nilotinib at clinically relevant concentrations was not found to
     alter the pharmacokinetics or pharmacodynamics of warfarin, a sensitive CYP2C9 substrate.
     TASIGNA can be used concurrently with warfarin without increasing the anticoagulant effect.
     Due to lack of steady-state data, control of warfarin pharmacodynamic markers (INR or PT)
     following initiation of nilotinib therapy (at least during the first 2 weeks) is recommended.

     In 19 CML patients, nilotinib administered at 400 mg twice daily for 12 days increased the
     systemic exposure (AUC) of a single 2 mg oral dose of midazolam (a substrate of CYP3A4) 2.6-
     fold. Nilotinib is a moderate CYP3A4 inhibitor. As a result, the systemic exposure of other drugs
     primarily metabolized by CYP3A4 (e.g. certain hydroxymethylglutaryl-CoA (HMG-CoA)
     reductase inhibitors or statins) may be increased when co-administered with nilotinib.
     Appropriate monitoring and dose adjustment may be necessary for drugs that are CYP3A4
     substrates and have a narrow therapeutic index (including but not limited to opioids (alfentanil,
     fentanyl), immunosuppressants (cyclosporine, sirolimus and tacrolimus), vasoconstrictors
     (dihydroergotamine and ergotamine), and levothyroxine) when co-administered with nilotinib
     (see Monitoring and Laboratory Tests). For additional drugs, also refer to
     http://www.intermed-rx.ca).


     Nilotinib is a P-gp inhibitor in vitro. Therefore, concentration of drugs which are substrates of
     P-gp (including but not limited to verapamil, digoxin, morphine, phenytoin, cefazolin,
     cyclosporine A, ondansetron) may be increased. Alternative concomitant medications which
     are not P-gp substrates should be considered.

     Anti-arrhythmic Medicines and Other Drugs That May Prolong the QT Interval
     Concomitant use of TASIGNA with anti-arrhythmic medicines (including, but not limited to
     amiodarone, disopyramide, procainamide, quinidine and sotalol) and other drugs that may
     prolong the QT interval (including, but not limited to chloroquine, halofantrine,
     clarithromycin, and other macrolides, haloperidol, methadone, moxifloxacin, bepridil and
     pimozide) should be avoided. (see WARNINGS AND PRECAUTIONS).

     Concomitant use of anti-emetic medicines (including but not limited to metoclopramide,
     prochlorperazine, ondansetron and dolasetron) should be avoided.




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     The concomitant use of TASIGNA with another QT/QTc-prolonging drug is discouraged. Drugs
     that have been associated with QT/QTc interval prolongation and/or Torsades de pointes include,
     but are not limited to, the examples in the following list. Chemical/pharmacological classes are
     listed if some, although not necessarily all, class members have been implicated in QT/QTc
     prolongation and/or Torsades de pointes:

     • Class IA antiarrhythmics (e.g., quinidine, procainamide, disopyramide);
     • Class III antiarrhythmics (e.g., amiodarone, sotalol, ibutilide);
     • Class 1C antiarrhythmics (e.g., flecainide, propafenone);
     • antipsychotics (e.g., chlorpromazine, pimozide, haloperidol, droperidol, ziprasidone);
     • antidepressants (e.g., fluoxetine, citalopram, venlafaxine, tricyclic/tetracyclic antidepressants
       e.g., amitriptyline, imipramine, maprotiline);
     • opioids (e.g., methadone);
     • macrolide antibiotics and analogues (e.g., erythromycin, clarithromycin, telithromycin,
       tacrolimus);
     • quinolone antibiotics (e.g., moxifloxacin, levofloxacin, ciprofloxacin);
     • pentamidine;
     • antimalarials (e.g., quinine, chloroquine);
     • azole antifungals (e.g., ketoconazole, fluconazole, voriconazole);
     • domperidone;
     • 5-hydroxytryptamine (5-HT)3 receptor antagonists (e.g., dolasetron, ondansetron);
     • tyrosine kinase inhibitors (e.g., sunitinib, lapatinib);
     • histone deacetylase inhibitors (e.g., vorinostat);
     • beta-2 adrenoceptor agonists (e.g., salmeterol, formoterol).


     The use of TASIGNA is discouraged with drugs that can disrupt electrolyte levels,
     including, but not limited to, the following:

     • loop, thiazide, and related diuretics;
     • laxatives and enemas;
     • amphotericin B;
     • high dose corticosteroids.

     The above lists of potentially interacting drugs are not comprehensive. Current information
     sources should be consulted for newly approved drugs that prolong the QT/QTc interval, inhibit
     metabolizing enzymes and/or transports, or cause electrolyte disturbances, as well as for older
     drugs for which these effects have recently been established.

     Drug-Food Interactions

     Food-effect
     The bioavailability of nilotinib is increased by food. TASIGNA must not be taken in conjunction
     with food (see DOSAGE AND ADMINISTRATION, WARNINGS AND PRECAUTIONS




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     and ACTION AND CLINICAL PHARMACOLOGY) and should be taken 2 hours after a
     meal. No food should be consumed for at least one hour after the dose is taken.
     For patients who are unable to swallow capsules, the content of each capsule may be dispersed
     in one teaspoon of applesauce and should be taken immediately. Not more than one teaspoon of
     applesauce should be used. Yogurt was shown to result in a significant increase in bioavailability
     and therefore must be avoided and no food other than applesauce must be used (see DOSAGE
     AND ADMINISTRATION).
     Products and juices containing grapefruit, star fruit, pomegranate, Seville oranges and other
     similar fruits that are known to inhibit CYP3A4 should be avoided at any time.
     The absorption of TASIGNA is increased if it is taken with food, resulting in higher serum
     concentration (see DOSAGE AND ADMINISTRATION, WARNINGS AND
     PRECAUTIONS and ACTION AND CLINICAL PHARMACOLOGY).


     Drug-Herb Interactions
     St. John’s Wort is a potent CYP3A4 inducer. Co-administration with TASIGNA may lead to
     increased TASIGNA metabolism, therefore decreased TASIGNA serum concentrations (see
     Drug-Drug Interactions).

     Drug-Laboratory Interactions
     Interactions with laboratory tests have not been established.

     Drug-Lifestyle Interactions

     Please refer to sections on DOSAGE AND ADMINISTRATION and INTERACTIONS.

     Effects on ability to drive and use machines
     No studies on the effects of nilotinib on the ability to drive and operate machines have been
     performed. Patients experiencing dizziness, visual impairment or other undesirable effects with
     a potential impact on the ability to safely drive or use machines should refrain from these
     activities as long as these undesirable effects persist (see ADVERSE REACTIONS).

     Alcohol

     No studies have been performed on the potential interaction between nilotinib and alcohol
     consumption. There is a single report of reduced efficacy of nilotinib in a patient concomitantly
     consuming alcohol.

     Food

     The bioavailability of nilotinib is increased by food. TASIGNA must not be taken in conjunction
     with food and should be taken 2 hours after a meal. No food should be consumed for at least one
     hour after the dose is taken. Grapefruit juice and other foods that are known to inhibit CYP3A4
     should be avoided at any time.




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     DOSAGE AND ADMINISTRATION

     Dosing Considerations


     Pediatric patients (2 to < 18 years)
     The safety and efficacy of TASIGNA in pediatric patients with Ph+ CML-CP from 2 to less than
     18 years of age has been established (see ADVERSE REACTIONS, CLINICAL
     PHARMACOLOGY, and CLINICAL TRIALS). There is no experience in pediatric patients
     below 2 years of age or in pediatric patients with Ph+ CML-AP or blast crisis (BC).

     Patients with renal impairment
     Clinical studies have not been performed in patients with impaired renal function. Clinical studies
     have excluded patients with serum creatinine concentration >1.5 times the upper limit of the
     normal range.
     TASIGNA and its metabolites are not renally excreted (See Pharmacokinetics).

     Patients with hepatic impairment
     Hepatic impairment has an effect on the pharmacokinetics of nilotinib in adults. Dose adjustment
     is not considered necessary in hepatically impaired patients. Patients with hepatic impairment
     should be treated with caution and careful clinical monitoring, including close monitoring of the
     QTc interval (see WARNINGS AND PRECAUTIONS).

     Cardiac disorders
     In clinical studies, newly diagnosed Ph+ CML-CP and imatinib-resistant or -intolerant Ph+ CML-
     CP and CML-AP patients with any of the following uncontrolled or significant cardiac disease
     were excluded: recent myocardial infarction, CHF, unstable angina, or clinically significant
     bradycardia. Imatinib-resistant or -intolerant Ph+ CML-CP and CML-AP patients with complete
     left bundle branch block and/or right bundle branch block, with left anterior hemiblock, or with
     bifascicular block were excluded from the study. Newly diagnosed Ph+ CML-CP patients with
     complete left bundle branch block were also excluded. ECG and cardiac enzyme monitoring were
     conducted in patients throughout the studies. Caution should be exercised in patients with relevant
     cardiac disorders (see WARNINGS AND PRECAUTIONS).

     Patients at risk of tumour lysis syndrome
     Due to possible occurrence of Tumour Lysis Syndrome (TLS) it is recommended to measure
     serum levels of creatinine, uric acid, phosphate, potassium, corrected calcium and LDH prior to
     the initiation of treatment with TASIGNA in order to assess the risk or presence of TLS and to
     monitor these parameters during the initial period of treatment with TASIGNA until a significant
     reduction of tumour cell burden has been achieved. Prophylaxis of TLS such as hydration and
     treatment of high uric acid levels in patients at risk and treatment of abnormalities subsequent to
     established TLS is required.




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     Method of administration
     TASIGNA should be taken twice daily, at approximately 12 hour intervals and must not be taken
     with food. The capsules should be swallowed whole with water. No food should be consumed
     for at least 2 hours before the dose is taken and no additional food should be consumed for at
     least one hour after the dose is taken (see WARNINGS AND PRECAUTIONS, and DRUG
     INTERACTIONS).
     For patients who are unable to swallow capsules, the content of each capsule may be dispersed
     in one teaspoon of applesauce and should be taken immediately. Not more than one teaspoon of
     applesauce should be used. Yogurt was shown to result in a significant increase in bioavailability
     and therefore must be avoided and no food other than applesauce must be used (see ACTION
     AND CLINICAL PHARMACOLOGY).

     Recommended Dose and Dosage Adjustment
     TASIGNA is available in three dosage strengths (50 mg, 150 mg and 200 mg).

     Treatment with TASIGNA (nilotinib capsules) should be initiated by a physician experienced in
     the treatment of patients with CML.

     In the adult clinical studies, TASIGNA was allowed to be given in combination with
     hematopoietic growth factors such as erythropoietin or granulocyte colony-stimulating factor (G-
     CSF) if clinically indicated. In the adult studies, TASIGNA was also allowed to be given with
     hydroxyurea (permitted during the first 28 days of treatment, up to 5 g/day for a maximum of 7
     days) or anagrelide (permitted during the first 28 days of treatment) if clinically indicated.

     Recommended Dose:

     Adult patients with newly diagnosed Ph+ CML-CP
     The recommended dose of TASIGNA is 300 mg (2x 150 mg capsules) orally twice daily (see
     CLINICAL TRIALS). Treatment should continue as long as the patient continues to benefit.

     Ph+ CML-CP and CML-AP adult patients who are resistant to or intolerant to at least one
     prior therapy including imatinib:
     The recommended dose of TASIGNA is 400 mg (2x 200 mg capsules) orally twice daily (see
     CLINICAL TRIALS). Treatment should continue as long as the patient does not show evidence
     of progression or unacceptable toxicity.

     A baseline ECG is recommended prior to initiating therapy with TASIGNA and should be
     repeated after 7 days and as clinically indicated. Hypokalemia or hypomagnesemia must be
     corrected prior to TASIGNA administration and potassium and magnesium blood levels should
     be monitored periodically during therapy, particularly in patients at risk for these electrolyte
     abnormalities (see WARNINGS AND PRECAUTIONS).

     Pediatric patients with newly diagnosed Ph+ CML-CP or resistant or intolerant Ph+ CML-CP
     Dosing in pediatric patients is individualized and is based on body surface area (mg/m2). The
     recommended dose of TASIGNA is 230 mg/m2 twice daily, rounded to the nearest 50 mg dose



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     (to a maximum single dose of 400 mg, see Table 6).This dose in pediatric patients had comparable
     pharmacokinetic exposure as the 400 mg twice daily dose in adults. Different strengths of
     TASIGNA hard capsules can be combined to attain the desired dose. Treatment should be
     continued as long as clinical benefit is observed or until unacceptable toxicity occurs. There is no
     experience with treatment of pediatric patients below 2 years of age.


     Table 6 Pediatric dosing of Tasigna (230 mg/m2 twice daily, maximum single dose of 400
     mg)

      Body Surface            Total Daily Dose       Taken as
      Area (BSA)
      ≤ 0.32 m2               100 mg                 one 50 mg capsule
                                                     twice a day
      0.33 – 0.54 m2          200 mg                 two 50 mg capsules
                                                     twice a day
      0.55 – 0.76 m2          300 mg                 one 150 mg capsule
                                                     twice a day
      0.77 – 0.97 m2          400 mg                 one 200 mg capsule
                                                     twice a day
      0.98 – 1.19 m2          500 mg                 one 50 mg and one 200 mg
                                                     capsule twice a day
      1.20 – 1.41 m2          600 mg                 two 150 mg capsules
                                                     twice a day
      1.42 – 1.63 m2          700 mg                 one 200 mg and one 150 mg capsule
                                                     twice a day
      ≥1.64 m2                800 mg                 two 200 mg capsules twice a day


     Dose Adjustments or Modifications:
     Delay of treatment with TASIGNA in case of established TLS must be weighed in the individual
     patient against the risk of delayed control of tumour cell proliferation.

     TASIGNA may need to be temporarily withheld and/or dose reduced for hematological toxicities
     (neutropenia, thrombocytopenia) that are not related to underlying leukemia (see Table 7 below).

     Table 7           Dose Adjustments for Adult and Pediatric Patients with Neutropenia and
                       Thrombocytopenia


      Adult patients with:                                      1. Stop TASIGNA, and monitor blood counts.
      - Newly diagnosed                #
                                ANC < 1.0 x 10 /L9

      Ph+ CML in chronic        and/or
                                                                2. Resume within 2 weeks at prior dose if ANC
      phase at 300 mg twice     platelet counts <50 x 109/L
                                                                       > 1.0x 109/L and/or platelets >50 x 109/L.
      daily




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         - Resistant or                                    3. If blood counts remain low for greater than 2
         intolerant Ph+ CML                                  weeks, a dose reduction to 400 mg once daily may
         in chronic phase or                                 be required.
         accelerated phase
         CML at 400 mg twice
         daily
         Pediatric patients   ANC# <1 × 109/L                  1. Stop TASIGNA and monitor blood counts.
         with:
                              and/or                           2. Resume within 2 weeks at prior dose if ANC
         - Newly diagnosed                                        >1.5 × 109/L and/or platelets >75 × 109/L.
         CML in chronic phase platelet counts <50 ×
         at 230 mg/m2 twice   109/L                            3. If blood counts remain low for greater than 2
         daily                                                    weeks, a dose reduction to 230 mg/m2 once
                                                                  daily may be required.
         - Resistant or
         intolerant CML in                                     4. If event occurs after dose reduction, consider
         chronic phase at 230                                     discontinuing treatment.
         mg/m2 twice daily
     #
         ANC= absolute neutrophil count


     TASIGNA may need to be temporarily withheld and/or dose reduced for patients who experience
     QTc interval prolongation (see Table 8 below).

     Table 8      Dose Adjustments for Adult and Pediatric Patients with QT prolongation
      ECGs with a QTc > 1. Withhold TASIGNA, and perform an analysis of serum potassium
      480 msec             and magnesium, and if below lower limit of normal, correct with
                           supplements to within normal limits. Concomitant medication usage
                           must be reviewed.

                             2. Resume TASIGNA within 2 weeks at prior dose if QTcF returns to < 450 msec
                                and to within 20 msec of baseline.

                             3. If QTcF is between 450 msec and 480 msec after 2 weeks reduce the
                                dose to 400 mg once daily in adults and 230mg/m2 once daily in pediatric
                             patients.


                             4. If, following dose-reduction to 400 mg once daily in adults and 230mg/m2 once
                             daily in pediatric patients, QTcF returns to >480 msec, TASIGNA should be
                             discontinued.

                             5. An ECG should be repeated approximately 7 days after any dose
                                adjustment.




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     See Table 9 below for dose adjustments for elevations of lipase, amylase, bilirubin, and/or hepatic
     transaminases (see ADVERSE REACTIONS).




     Table 9       Dose Adjustments for Adult and Pediatric Patients with Selected Non-
     hematologic Laboratory Abnormalities

     Elevated serum lipase     Adult Patients:
     or amylase ≥ Grade 3
                               1. Withhold TASIGNA, and monitor serum lipase or amylase
                               2. Resume treatment at 400 mg once daily if serum lipase or amylase
                                  return to ≤ Grade 11

                               Pediatric Patients:

                               1. Tasigna must be interrupted until the event returns to less than or
                               equal to Grade 1.

                               2. Resume treatment at 230mg/m2 once daily if prior dose was
                               230mg/m2 twice daily; if prior dose was 230 mg/m2 once daily,
                               treatment should be discontinued.

     Elevated Total            Adult Patients
     bilirubin ≥ Grade 3 in
     adult patients and        1. Withhold TASIGNA, and monitor total bilirubin
     greater than or equal     2. Resume treatment at 400 mg once daily if total bilirubin return to
     to Grade 2 in pediatric      ≤ Grade 1
     patients                  3. Total bilirubin levels should be tested frequently or as clinically
                                  indicated

                               Pediatric Patients:

                               1. Tasigna must be interrupted until the event returns to less than or
                               equal to Grade 1.
                               2. Resume treatment at 230mg/m2 once daily if prior dose was
                               230mg/m2 twice daily; if prior dose was 230mg/m2 once daily, and
                               recovery to less than or equal to Grade 1 takes longer than 28 days,
                               treatment should be discontinued.




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     Elevated hepatic      Adult Patients:
     transaminases ≥ Grade
     3                     1. Withhold TASIGNA, and monitor hepatic transaminases
                           2. Resume treatment at 400 mg once daily if hepatic transaminases
                              return to ≤ Grade 1
                           3. Hepatic transaminases levels should be tested frequently or as
                              clinically indicated
                                     Pediatric Patients:

                                     1. Tasigna must be interrupted until the event returns to less than or
                                     equal to Grade 1.
                                     2. Resume treatment at 230mg/m2 once daily if prior dose was
                                     230mg/m2 twice daily; if prior dose was 230mg/m2 once daily, and
                                     recovery to less than or equal to Grade 1 takes longer than 28 days,
                                     treatment should be discontinued.
     1
         Serum lipase levels should be tested frequently or as clinically indicated


     Serum lipase elevations were observed in adult patients. Few of these elevations were associated
     with clinical symptoms such as abdominal pain or a diagnosis of pancreatitis. There were 5 cases
     (1.1%) of pancreatitis reported in imatinib-resistant or-intolerant Ph+ CML-CP and CML-AP
     patients (N= 458). In adult newly diagnosed Ph+ CML-CP 5 (1.8%) and 8 (2.9%) cases of
     pancreatitis were reported in patients receiving TASIGNA 300 mg twice daily (N=279) and 400
     mg twice daily (N=277), respectively. In case lipase elevations are accompanied by abdominal
     symptoms, doses should be interrupted and appropriate diagnostics should be considered in order
     to exclude pancreatitis (see WARNINGS AND PRECAUTIONS).

     If clinically significant moderate or severe non-hematologic toxicity develops (including
     medically severe fluid retention), see Table 10 for dose adjustments (See ADVERSE
     REACTIONS section).




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     Table 10 Dose Adjustments for Adult and Pediatric Patients with Other Non-hematologic
     Toxicities
      Other clinically   Adult patients:
      moderate or        1. Withhold Tasigna until toxicity has resolved.
      severe non-        2. Resume treatment at 400 mg once daily if previous dose was 300 mg
      hematologic        twice daily in adult patients newly diagnosed with CML-CP or 400 mg
      toxicity           twice daily in adult patients with resistant or intolerant CML-CP and
      (including fluid   CML-AP.
      retention)         3. If the prior dose was 400 mg once daily in adult patients, treatment
                         should be discontinued.
                         4. If clinically appropriate, re-escalation of the dose to 300 mg (newly
                         diagnosed Ph+ CML-CP) or 400 mg (resistant or intolerant Ph+ CML-CP
                         and CML-AP) twice daily should be considered.
                         Pediatric patients:
                         1. Tasigna must be interrupted until toxicity has resolved.
                         2. Resume treatment at 230mg/m2 once daily if previous dose was
                         230mg/m2 twice daily; if prior dose was 230mg/m2 once daily, treatment
                         should be discontinued.
                         3. If clinically appropriate, re-escalation of the dose to 230mg/m2 twice
                         daily should be considered.



     Discontinuation of treatment after a sustained molecular response (MR4.5) on TASIGNA:

     Eligibility for Discontinuation of Treatment
     Adult Ph+ CML-CP patients with typical BCR-ABL transcripts who have been taking TASIGNA
     for a minimum of 3 years and have achieved a sustained molecular response (MR4.5,
     corresponding to BCR-ABL/ABL ≤ 0.0032% IS) may be eligible for treatment discontinuation
     (see CLINICAL TRIALS). Discontinuation of TASIGNA treatment in pediatric patients to
     attempt treatment free remission has not been assessed.

     Adult patients with typical BCR-ABL transcripts (i.e., 13a2/b2a2 or e14a2/b3a2) who achieve the
     sustained MR4.5 criteria are eligible for discontinuation of TASIGNA treatment. Patients must
     continue to be monitored for possible loss of molecular remission after treatment discontinuation
     using a quantitative diagnostic test validated with a sensitivity of at least MR4.5 (BCR-ABL/ABL
     ≤0.0032% IS).

     Discontinuation of treatment may be considered in adult patients with newly diagnosed Ph+
     CML-CP who have:

      been treated with TASIGNA for at least 3 years

      maintained a molecular response of at least MR4.0 (corresponding to BCR-ABL/ABL ≤ 0.01%
     IS) for at least one year prior to discontinuation of therapy




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      achieved an MR4.5 for the last assessment taken immediately prior to discontinuation of therapy

      been confirmed to express the typical BCR-ABL transcripts (e13a2/b2a2 or e14a2/b3a2)

      no history of accelerated phase or blast crisis

      no history of prior attempts of treatment-free remission discontinuation that resulted in relapse.

     Discontinuation of treatment may be considered in patients with Ph+ CML-CP that are resistant
     or intolerant to prior treatment that included imatinib who have achieved a sustained molecular
     response (MR4.5) on TASIGNA who have:

      been treated with TASIGNA for a minimum of 3 years

      been treated with imatinib only prior to treatment with TASIGNA

      achieved a molecular response of MR4.5 (corresponding to BCR-ABL/ABL ≤ 0.0032% IS)

        sustained MR4.5 for a minimum of one year immediately prior to discontinuation of therapy

      been confirmed to express the typical BCR-ABL transcripts (e13a2/b2a2 or e14a2/b3a2)

      no history of accelerated phase or blast crisis

      no history of prior attempts of treatment-free remission discontinuation that resulted in relapse.

     Monitor BCR-ABL transcript levels and complete blood count with differential in patients who
     have discontinued TASIGNA therapy monthly for one year, then every 6 weeks for the second
     year, and every 12 weeks thereafter.

     Upon loss of MR4.0 (corresponding to BCR-ABL/ABL ≤ 0.01% IS) during the treatment-free
     phase, monitor BCR-ABL transcript levels every 2 weeks until BCR-ABL levels remain lower than
     major molecular response (MMR, corresponding to MR3.0 or BCR-ABL/ABL ≤ 0.1% IS) for 4
     consecutive measurements. The patient can then proceed to the original monitoring schedule.

     Re-initiation of treatment in patients who lose molecular response after discontinuation of
     therapy with TASIGNA:

      Newly diagnosed patients who lose MMR must reinitiate treatment within 4 weeks at the dose
     level prior to discontinuation of therapy. Patients who reinitiate TASIGNA therapy should have
     their BCR-ABL transcript levels monitored monthly until MMR is re-established and every 12
     weeks thereafter.

      Ph+ CML-CP patients resistant or intolerant to prior treatment that included imatinib with
     confirmed loss of MR4.0 (2 consecutive measures separated by at least 4 weeks showing loss of
     MR4.0) or loss of MMR must reinitiate treatment within 4 weeks at the dose level prior to



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     discontinuation of therapy. Patients who reinitiate TASIGNA therapy should have their BCR-
     ABL transcript levels monitored monthly until previous MMR or MR4.0 is re-established and
     every 12 weeks thereafter.

     Missed Dose
     If a dose is missed, the patient should not take an additional dose, but take the next scheduled
     usual prescribed dose.


     OVERDOSAGE
     Isolated reports of intentional overdose with nilotinib were reported, where an unspecified
     number of TASIGNA capsules were ingested in combination with alcohol and other drugs.
     Events included neutropenia, vomiting and drowsiness. No ECG changes or hepatotoxicity were
     reported. Outcomes were reported as recovered. One case of accidental overdose in a patient who
     took a second dose of TASIGNA 400mg shortly after having ingested a first dose of 400 mg.
     Approximately 8 hours after ingestion, the patient reported feeling weak, abdominal pain,
     tachycardia and epistaxis.
     In the event of overdose, the patient should be observed and appropriate supportive treatment
     given.


      For management of a suspected drug overdose, contact your regional Poison Control Centre.



     ACTION AND CLINICAL PHARMACOLOGY

     Mechanism of Action

     Pharmacotherapeutic group: Antineoplastic agents - Protein-tyrosine kinase inhibitor ATC code:
     L01XE08.

     TASIGNA is a potent and selective inhibitor of the ABL tyrosine kinase activity of the BCR-
     ABL oncoprotein both in cell lines and in primary Philadelphia-chromosome positive leukemia
     cells. The drug binds strongly within the ATP-binding site in such a manner that it is a potent
     inhibitor of wild-type BCR-ABL and maintains activity against 32/33 imatinib-resistant mutant
     forms of BCR-ABL with the T315I mutant being the exception. As a consequence of this
     biochemical activity, nilotinib selectively inhibits the proliferation and induces apoptosis in cell
     lines and in primary Philadelphia-chromosome positive leukemia cells from CML patients. In
     murine models of CML, as a single agent nilotinib reduces tumour burden and prolongs survival
     following oral administration.

     TASIGNA has also little or no effect against the majority of other protein kinases examined,
     except for PDGFRα, PDGFRβ, Kit CSF-1R, DDR-1 and DDR-2 and Ephrin receptor kinases
     which it inhibits at concentrations within the range achieved following oral administration at
     therapeutic doses recommended for the treatment of CML (see Table 11).




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     Table 11             Kinase Profile of nilotinib (Phosphorylation IC50 nM)

                             BCR-ABL                      PDGFR                         KIT
                                20                          69                          210



     Pharmacodynamics
     A dose response in the Phase IA component of Study 2101 was explored using the following
     initial dose cohorts based on daily exposure to nilotinib. The twice daily doses were associated
     with higher exposures as compared to the once daily doses (See Table 12 below).

     Table 12          Dose and corresponding exposure in all adult patients or CML-AP patients

                                              Nilotinib                        Steady-state (day 15) AUC0-24h
                                                                               (ng·h/mL)
          Group        Initial dose (mg)      Regimen           Exposure       All patients a) CML-AP patients b)
          1            50-200                 once daily        Low            6880 (4750)     6610 (2350-14600)
          2            400-1200               once daily        Middle         26000 (13800) 24900 (5770-65900)
          3            400                    twice daily       High           36000 (11800) 35200 (14600-61000)
          4            600                    twice daily       High           32800 (13800) 28900 (16000-61500)
     a)
          Mean (SD) of dose group
     b)
          Median (range) of dose group



     Pharmacokinetics - Adults

     Table 13 Summary of nilotinib’s pharmacokinetic parameters in serum plasma
              after a single 400 mg oral dose in healthy adult male volunteers (n=4)1

                tmax             Cmax            t½ (h)           AUC0-∞        Clearance (CL/F)        Volume of
                                                                                                   distribution (Vz/F)
             3.5 hours        599 ng/mL        17 hours        20700 ng.h/mL      29.1 L/hour            579 L

     1
          values are median for tmax and mean for all others

     Absorption:
     Peak concentrations of nilotinib are reached 3 hours after oral administration. Nilotinib
     absorption following oral administration was approximately 30%. The absolute bioavailability of
     nilotinib has not been determined.

     In healthy volunteers, Cmax and area under the serum concentration-time curve (AUC) of nilotinib
     are increased by 112% and 82%, respectively compared to fasting conditions when TASIGNA is
     given with food. Administration of TASIGNA 30 minutes or 2 hours after food increased
     bioavailability of nilotinib by 29% or 15%, respectively (see DOSAGE AND



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     ADMINISTRATION, and DRUG INTERACTIONS). Nilotinib absorption (relative
     bioavailability) was reduced by approximately 48% and 22% in patients with total gastrectomy
     and partial gastrectomy, respectively. Mean steady state trough concentration of nilotinib in
     patients with total gastrectomy was 599 ng/mL vs. 1035 ng/mL in patients without prior GI
     resection.

     In healthy subjects, single dose administration of 400 mg of nilotinib, using 2 capsules of 200 mg
     whereby the content of each capsule was dispersed in one teaspoon of applesauce, was shown to
     be bioequivalent with a single dose administration of 2 intact capsules of 200 mg.

     Distribution:
     Blood-to-plasma ratio of nilotinib is 0.68. Plasma protein binding is approximately 98% on the
     basis of in vitro experiments.

     Metabolism:
     Main metabolic pathways identified in healthy subjects are oxidation and hydroxylation.
     Nilotinib is the main circulating component in the serum. None of the metabolites contribute
     significantly to the pharmacological activity of nilotinib.

     Excretion:
     After a single dose of radiolabelled nilotinib in healthy subjects, greater than 90% of the dose
     was eliminated within 7 days mainly in feces. Parent drug accounted for 69% of the dose.
     The apparent elimination half-life estimated from the multiple dose PK with daily dosing was
     approximately 17 hours. Inter-patient variability in nilotinib PK was moderate to high.

     Linearity / non-linearity
     Steady-state nilotinib exposure was dose-dependent with less than dose-proportional increases in
     systemic exposure at dose levels higher than 400 mg given as once daily dosing. Daily systemic
     exposure to nilotinib of 400 mg twice-daily dosing at steady state was 35% higher than with 800
     mg once-daily dosing. Systemic exposure (AUC) of nilotinib at steady state at a dose level of 400
     mg twice daily was approximately 13.4% higher than with 300 mg twice daily, based on a full
     pharmacokinetic profile comparison. The average nilotinib trough and peak concentrations over
     12 months , obtained from 275 patients in the nilotinib 300 mg twice daily and 267 patients in
     the nilotinib 400 mg twice daily, were approximately 15.7% and 14.8% higher following 400 mg
     twice daily dosing compared to 300 mg twice daily. There was no relevant increase in exposure
     to nilotinib when the dose was increased from 400 mg twice-daily to 600 mg twice-daily.

     Steady-state conditions were essentially achieved by day 8. An increase in serum exposure to
     nilotinib between the first dose and steady state was approximately 2-fold for daily dosing and
     3.8-fold for twice-daily dosing.

     Special Populations and Conditions:
     Pediatric pharmacokinetics: Following administration of nilotinib in pediatric patients at 230
     mg/m2 twice daily, rounded to the nearest 50 mg dose (to a maximum single dose of 400 mg),
     steady-state exposure and clearance of nilotinib were found to be similar (within 2-fold) to adult
     patients treated with 400 mg twice daily. Overall steady-state exposure of nilotinib as measured



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     by Ctrough are similar between the two age groups 2 to < 12 years and 12 to 18 years (mean
     Ctrough ranged from 1540 ng/mL to 1910 ng/mL for the younger group (2 to <12 years)
     compared to a range of 1200 ng/mL to 1640 ng/mL for the older group (12 to 18 years).
     Furthermore, individual predictions from the PopPK study were consistent with observed data,
     showing similarity across age groups. Medians of individual predictions of BSA-normalized
     clearances (L/h/m2) in the 2 to < 12 y, 12 to < 18 y, and ≥18 y age groups were 13.8, 13.1, and
     13.0 L/h/m2, respectively. Medians of individual predictions of AUCss in the 2 to < 12 y, 12 to
     < 18 y, and ≥18 y age groups were 16600, 17300, 15300 h∙ng/mL, respectively.

     Effect of age or gender on PK: Age, body weight, or ethnic origin do not significantly affect
     the pharmacokinetics of nilotinib in adult patients, whereas there is an effect of gender, with
     exposure to nilotinib in female patients being approximately 20% greater than in male patients.
     The PK exposure in pediatric trials was based prospectively on dosing by body surface area
     (BSA) with a dose of 230 mg/m2 twice daily rounded to the nearest multiple of 50 mg not to
     exceed 400 mg. The effects of body surface area played the major role for accounting for
     differences in pharmacokinetics between pediatrics (ages 2 to <18 y) and adults, and thus
     justifying a mg/m2 dosing in pediatrics. This dose in children had comparable PK exposure as the
     400 mg twice daily dose in adults.

     Pharmacogenomics: TASIGNA can lead to elevated bilirubin levels. A pharmacogenetic
     analysis of 101 imatinib-resistant or -intolerant Ph+ CML-CP and CML-AP patients was
     conducted to evaluate the polymorphisms of UGT1A1 and its potential association with
     hyperbilirubinemia during TASIGNA treatment. In this study, the (TA)7/(TA)7 genotype was
     associated with a statistically significant increase in the risk of hyperbilirubinemia relative to the
     (TA)6/(TA)6 and (TA)6/(TA)7 genotypes. The largest increases in bilirubin were observed in
     patients with the (TA)7/(TA)7 genotype. Caution is recommended in patients with (TA)7/(TA)7
     genotype. (see WARNINGS AND PRECAUTIONS and DOSAGE AND
     ADMINISTRATION).

     Patients with hepatic impairment: Hepatic impairment has an effect on the pharmacokinetics
     of TASIGNA. Single dose administration of TASIGNA 200 mg resulted in increases in AUC of
     35%, 35% and 56% in subjects with mild, moderate and severe hepatic impairment, respectively,
     compared to a control group of subjects with normal hepatic function. The steady-state Cmax of
     TASIGNA will likely to be increased by up to approximately 29% in subjects with hepatic
     impairment (see DOSAGE AND ADMINISTRATION).


     STORAGE AND STABILITY

     Store at room temperature (15-30C).
     Store in the original package.
     TASIGNA must be kept out of reach and sight of children.

     SPECIAL HANDLING INSTRUCTIONS




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     No special requirements.

     DOSAGE FORMS, COMPOSITION AND PACKAGING
     TASIGNA (nilotinib capsules) 50 mg Hard Capsules:
     Each capsule contains 50 mg nilotinib base (as hydrochloride monohydrate).
     White to yellowish powder in hard gelatin capsule with red opaque cap and light yellow opaque
     body, size 4 with black radial imprint “NVR/ABL” on cap.

     Non- medicinal Ingredients:
     Capsule content: Colloidal silicon, anhydrous; Crospovidone; Lactose monohydrate;
     Poloxamer; Magnesium stearate.
     Capsule shell: Gelatin; Titanium dioxide (E171); Iron oxide, red (E172); Iron oxide, yellow
     (E172).
     Printing ink: Shellac; Iron oxide, black (E172); Propylene glycol; Ammonium hydroxide

     TASIGNA (nilotinib capsules) 150 mg Hard Capsules:
     Each capsule contains 150 mg nilotinib base (as hydrochloride monohydrate).
     White to yellowish powder in red opaque hard gelatin capsules, size 1 with black axial imprint
     “NVR/BCR”.

     Non- medicinal Ingredients:
     Capsule content: Colloidal silicon, anhydrous; Crospovidone; Lactose monohydrate;
     Poloxamer 188; Magnesium stearate.

     Capsule shell: Gelatin; Titanium dioxide (E171); Iron oxide, red (E172), Iron oxide, yellow
     (E 172).
     Printing ink: black (E172) iron oxide.

     TASIGNA (nilotinib capsules) 200 mg Hard Capsules:
     Each capsule contains 200 mg nilotinib base (as hydrochloride monohydrate).
     White to yellowish powder in light yellow opaque hard gelatin capsules, size 0 with red axial
     imprint “NVR/TKI”.

     Non- medicinal Ingredients:
     Capsule content: Colloidal silicon anhydrous; Crospovidone; Lactose monohydrate; Poloxamer
     188; Magnesium stearate.

     Capsule shell: Gelatin; Titanium dioxide; Iron oxide, yellow.

     Printing ink: includes red iron oxide.
     Availability of Dosage Forms:
     TASIGNA (nilotinib capsules)




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     50 mg Capsules are supplied in blister packs (5strips of 8 blisters/card, 3 cards/carton).

     150 mg Capsules are supplied in blister packs (7 strips of 4 blisters/card, 4 cards/carton).

     200 mg Capsules are supplied in blister packs (7 strips of 4 blisters/card, 4 cards/carton).




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     PART II: SCIENTIFIC INFORMATION

     PHARMACEUTICAL INFORMATION

     Drug Substance

      Common name:             Nilotinib hydrochloride monohydrate


      Chemical name:           4-Methyl-N-[3-(4-methyl-1H-imidazol-1-yl)-5-
                               (trifluoromethyl)phenyl]-3-[[4-(3-pyridinyl)-2-pyrimidinyl]amino]-
                               benzamide, monohydrochloride, monohydrate

                               4-Methyl-N-[3-(4-methyl-1H-imidazol-1-yl)-5-
                               (trifluoromethyl)phenyl]-3-[(4-pyridin-3-ylpyrimidin-2-
                               yl)amino]benzamide hydrochloride hydrate

      Molecular formula:       Salt form as monohydrate:            C28H22F3N7O.HCl.H2O
                               Salt form on anhydrous basis:        C28H22F3N7O.HCl
                               Nilotinib base:                      C28H22F3N7O

      Molecular mass:          Salt form as monohydrate:             583.99
                               Salt form on anhydrous basis:         565.98
                               Nilotinib base:                       529.52

      Structural formula:




      Physicochemical
      properties:

      Physical Description:    White to slightly yellowish or slightly greenish yellowish powder.

      Solubility:              Solubility of nilotinib hydrochloride monohydrate in aqueous solutions
                               strongly decreases with increasing pH, and that nilotinib hydrochloride
                               monohydrate is practically insoluble in buffer solutions of pH 4.5 and
                               higher pH values. Nilotinib hydrochloride monohydrate is very soluble




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                               in dimethyl sulfoxide, sparingly soluble in ethanol and methanol, very
                               slightly soluble in acetonitrile and n-octanol.

      pH:                      The pH value of a 0.02% solution of nilotinib hydrochloride
                               monohydrate in water/ethanol 50:50 (V/V) was found to be 4.3.
                               The pH value of a 0.1% suspension of nilotinib hydrochloride
                               monohydrate in water was determined to be 5.3.

      pKa:                     pKa1 = 2.1, and
                               pKa2 = 5.4.

      Partition Coefficient:   The distribution coefficient for nilotinib hydrochloride monohydrate
                               in n-octanol/0.1N HCl buffer at 37.0 ± 0.5°C was determined to be
                               0.08.

      Melting point:           Nilotinib hydrochloride monohydrate may undergo dehydration prior
                               to melting, therefore no range can be defined.




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     CLINICAL TRIALS

     Newly diagnosed Ph+ CML-CP (adults)

     Study demographics and trial design

     The clinical efficacy of nilotinib in newly diagnosed Ph+ CML-CP adult patients, has been
     demonstrated based on the Phase III Study (A2303). The design of the study is illustrated in
     Figure 1.

               Figure 1.




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          Table 14         Summary of adult patient demographics for clinical trials (Newly diagnosed
          Ph+
                           CML-CP patients exposed to study drug)

Study       Trial design            Dosage, route of               Study subjects             Mean age (Range)               Gender
  #                                administration and               (n=number)
                                       duration

A2303   Open label,            nilotinib and imatinib were     Total number of patients   imatinib 400 mg once daily     imatinib 400 mg
        multicenter,           administered orally:            randomized = 846           12.4% ≥ 65 years of age        once daily
        randomized Phase III                                                              Mean: 47(18-80)                M=55.8%
        study was conducted    imatinib 400 mg once daily      imatinib 400 mg once                                      F=44.2%
        to determine the                                       daily (n=283)              nilotinib 300 mg twice daily
        efficacy of            nilotinib 300 mg twice daily                               12.8% ≥ 65 years of age        nilotinib 300 mg
        TASIGNA versus                                         nilotinib 300 mg twice     Mean: 47 (18-85)               twice daily
        GLEEVEC in adult       nilotinib 400 mg twice daily    daily                                                     M=56.0%
        patients with                                           (n= 282)                                                 F=44.0%
        cytogenetically                                        nilotinib 400 mg twice     nilotinib 400 mg twice daily
        confirmed newly        Median time on treatment        daily (n=281)              10.0% ≥ 65 years of age in     nilotinib 400 mg
        diagnosed Ph+ CML-     was approximately 60                                       Mean: 47 (18-81)               twice daily
        CP.                    months in all three treatment                                                             M=62.3%
                               groups.                                                                                   F=37.7%




          An open label, multicenter, randomized Phase III study (A2303) was conducted to determine the
          efficacy of TASIGNA versus imatinib in adult patients with cytogenetically confirmed newly
          diagnosed Ph+CML-CP. Patients were within six months of diagnosis and were previously
          untreated for CML-CP, except for hydroxyurea and/or anagrelide (See Table 15). In addition,
          patients were stratified according to Sokal risk score at time of diagnosis.

          Baseline characteristics were well balanced between the groups (Table 14). There were slightly
          more male than female patients in all groups. More than 60% of all patients were Caucasian, and
          25% were Asian. Table 15 displays the disease history characteristics.
          The primary data analysis time point was when all 846 patients completed 12 months of treatment
          (or discontinued earlier). Subsequent analyses reflect when patients completed 24, 36, 48 and 60
          months of treatment (or discontinued earlier). The median time on treatment is approximately 60
          months in all three treatment groups.

          The median actual dose intensity was 400 mg/day in the imatinib group, 593 mg/day in the
          nilotinib 300 mg twice daily group. This study is on-going. Table 16 displays the duration of
          exposure with TASIGNA.




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     Table 15 CML Disease History Characteristics

                                          TASIGNA               Imatinib
                                      300 mg twice daily    400 mg once daily
                                            N=282                 N=283
      Median time since diagnosis             31.0                  28.0
      of CML in days (range)                (0-182)               (1-183)
      Hydroxyurea                        216 (76.6%)           201 (71.0%)
      Anagrelide                           6 (2.1%)              4 (1.4%)


     Table 16 Duration of Exposure with TASIGNA


                                                    TASIGNA           Imatinib
                                                   300 mg twice     400 mg once
                                                       daily            daily
                                                      N=279            N=277

      Median duration of therapy in months             60.02            58.69
      (95%CI)                                      (59.20-60.42)    (52.21-59.99)



     Study Results:

     Primary Efficacy Endpoint: Major Molecular Response (MMR)
     The primary efficacy variable was MMR at 12 months after the start of study medication. MMR
     was defined as ≤ 0.1% BCR-ABL/ABL % by international scale measured by Real-Time
     Quantitative PCR (RQ-PCR), which corresponds to a ≥ 3 log reduction of BCR-ABL transcript
     from standardized baseline.

     The primary efficacy endpoint, MMR rate at 12 months was statistically significantly superior in
     the nilotinib 300 mg twice daily group compared to the imatinib 400 mg once daily group (44.3%
     vs. 22.3%, p<0.0001) (Table 17).

     At the nilotinib recommended dose of 300 mg twice daily, the rates of MMR at 3, 6, 9 and 12
     months was 8.9%, 33.0%, 43.3% and 44.3%, respectively. In the imatinib 400 mg once daily
     group, the rates of MMR at 3, 6, 9 and 12 months was 0.7%, 12.0%, 18.0% and 22.3%.
     The MMR rates at 12, 24, 36, 48, and 60 months is presented in Table 17.




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     Table 17                MMR rate


                                                            TASIGNA                       Imatinib
                                                           300 mg twice               400 mg once daily
                                                               daily                       N=283*
                                                             N=282*                         n (%)
                                                              n (%)
         MMR at 12 months2                                   125(44.3)1                       63(22.3)
         95% CI for response
                                                            [38.4, 50.3]                    [17.6, 27.6]
         MMR at 24 months2                                   174 (61.7)1                     106 (37.5)
         95% CI for response
                                                            [55.8, 67.4]                    [31.8, 43.4]
         MMR at 36 months2                                   165 (58.5)1                     109 (38.5)
         95% CI for response
                                                            [52.5, 64.3]                    [32.8, 44.5]
         MMR at 48 months2                                   169 (59.9)1                     124 (43.8)
         95% CI for response
                                                             [54.0,65.7]                    [38.0,49.8]
         MMR at 60 months2                                   177 (62.8)                      139 (49.1)
         95% CI for response
                                                             [56.8,68.4]                    [43.2,55.1]
     *
         Denominator for this analysis (N) includes all randomized patients, whether evaluable or not evaluable for MMR
     1
         CMH test p-value for response rate (vs. Imatinib 400 mg) <0.0001
     2
       Only patients who were in MMR at a specific time point are included as responders for that time point. Other randomized patients, whether
     evaluable or not at that time point, are conservatively considered as not MMR:
          A total of 129 (15.2%) of all patients were not evaluable for MMR at 12 months (40 in the nilotinib 300 mg BID group, 41 in the nilotinib
           400 mg BID group and 48 in the imatinib group) due to missing/not evaluable PCR assessments (n=3), atypical transcripts at baseline
           (n=8), or discontinuation prior to the 12-month time point (n=118).
          A total of 211 (24.9%) of all patients were not evaluable for MMR at 24 months (68 in the nilotinib 300 mg BID group, 61 in the nilotinib
           400 mg BID group and 82 in the imatinib group) due to missing/ not evaluable PCR assessments (n=13), atypical transcripts at baseline
           (n=8), or discontinuation prior to the 24-month time point (n=190).
          A total of 199 (35.2%) of all patients were not evaluable for MMR at 36 months (87 in the nilotinib 300 mg BID group and 112 in the
          imatinib group) due to missing/ not evaluable PCR assessments (n=17), atypical transcripts at baseline (n=7), or
          discontinuation prior to the 36-month time point (n=175).
          A total of 305 (36.1%) of all patients were not evaluable for MMR at 48 months (98 in the nilotinib 300 mg BID group, 88 in the nilotinib
           400 mg BID group and 119 in the imatinib group) due to missing/ not evaluable PCR assessments (n=18), atypical transcripts at baseline
           (n=8), or discontinuation prior to the 48-month time point (n=279).
          A total of 322 (38.1%) of all patients were not evaluable for MMR at 60 months (99 in the nilotinib 300mg BID group, 93 in the nilotinib
           400 mg BID group and 130 in the imatinib group) due to missing/ not evaluable PCR assessments (n=9), atypical transcripts at baseline
          (n=8), or discontinuation prior to the 60-month time point (n=305).




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     MMR rates by different time points (including patients who achieved MMR at or before those
     time points as responders) are presented in the cumulative incidence of MMR (Figure 2).


     Figure 2      Cumulative Incidence of MMR




     For all Sokal risk groups, the MMR rates at all timepoints remained consistently higher in the
     300 mg twice daily nilotinib group than in the imatinib group.

     In an exploratory analysis, 91% (234/258) of patients on nilotinib 300 mg twice daily achieved
     BCR-ABL levels ≤10% at 3 months of treatment compared to 67% (176/264) of patients on
     imatinib 400 mg once daily.

     Based on the Kaplan-Meier analyses of time to first MMR among all patients, the probability of
     achieving MMR at different time points was higher in the nilotinib group compared to the
     imatinib group (hazard ratio/HR=2.20 and stratified log-rank p<0.0001 between nilotinib 300 mg
     twice daily and imatinib).




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     Table 18 Best overall BCR-ABL ratio rates (by 60 months cut-off) – Study
     CAMN107A2303 (FAS)

                                                   TASIGNA                    Imatinib
                                               300 mg twice daily         400 mg once daily
                                                    N=282                      N=283
                                    1
         BCR-ABL ratio categories
         ≤0.0032%                                    156 (55.3%)             92 (32.5%)

         >0.0032% - ≤0.01%                            31 (11%)                   28 (9.9%)

         >0.01 - ≤0.1 %                               31 (11%)               53 (18.7%)

         >0.1 - ≤1 %                                  28 (9.9%)              43 (15.2%)

         >1 - ≤10 %                                   15 (5.3%)                  26 (9.2%)

         >10 %                                        12 (4.3%)              32 (11.3%)
     1
      Molecular response of >0.01 - ≤0.1 %, >0.0032-≤ 0.01% and ≤ 0.0032% by International Scale (IS) corresponds to
     a ≥3 log to <4 log reduction; a ≥ 4 log to <4.5 log reduction and ≥ 4.5 log reduction, respectively, of BCR-ABL
     transcripts from a standardized baseline.

     Patients categorized according to their best overall BCR-ABL ratio achieved are summarized in
     Table 18 above.

     The proportions of patients who had a molecular response of ≤ 0.01% and ≤ 0.0032% by
     International Scale (IS) at different time-points is presented in Table 19.

     Table 19     Proportions of patients who had molecular response of ≤ 0.01% (4 log
     reduction and ≤ 0.0032% (4.5 log reduction)

                               TASIGNA                        Imatinib
                           300 mg twice daily             400 mg once daily
                                    N=282                          N=283
                                        (%)                         (%)
                          ≤ 0.01% ≤ 0.0032% ≤ 0.01% ≤ 0.0032%
         At 12 months      11.7               4.6          3.9             0.4
         At 24 months      24.5               12.4         10.2            2.8
         At 36 months      29.4               13.8         14.1            8.1
         At 48 months      33.0               16.3         19.8           10.2
         At 60 months      47.9               32.3         31.1           19.8




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     Duration of MMR
     Based on Kaplan-Meier estimates of the duration of first MMR, the proportions of patients who
     achieved MMR and were maintaining response for 60 months among patients who achieved
     MMR were 93.4% (95% CI: 89.9% to 96.9%) in the nilotinib 300 mg twice daily group, and
     89.1% (95% CI: 84.2% to 94.0%) in the imatinib 400 mg once daily group.

     Secondary Efficacy Endpoint: Complete Cytogenetic Response (CCyR)
     CCyR was defined as 0% Ph+ metaphases in the bone marrow based on a minimum of 20
     metaphases evaluated. CCyR rate by 12 months (includes patients who achieved CCyR at or
     before the 12 month time point as responders) was statistically higher for the nilotinib 300 mg
     twice daily group compared to imatinib 400 mg once daily group, Table 20.
     CCyR rate by 24 months (includes patients who achieved CCyR at or before the 24 month time
     point as responders) was statistically higher for the nilotinib 300 mg twice daily group compared
     to imatinib 400 mg once daily group (Table 20).


     Table 20       Rate of Complete Cytogenetic Response (CCyR)

                                                    TASIGNA            Imatinib
                                                   300 mg twice      400 mg once
                                                       daily             daily
                                                      N=282             N=283
                                                      n (%)             n (%)
      By 12 months
      Complete Cytogenetic Response                 226 (80.1)         184 (65.0)
      95% CI for response                           [75.0,84.6]       [59.2,70.6]
      CMH test p-value for response rate             <0.0001
      (vs. imatinib 400 mg)
      By 24 months
      Complete Cytogenetic Response                 245 (86.9)         218 (77.0)
      95% CI for response                           [82.4, 90.6]      [71.7, 81.8]
      CMH test p-value for response rate            0.0018
      (vs. Imatinib 400 mg)
     CMH: Cochran-Mantel-Haenszel
     Cytogenetic assessments after 24 months follow-up were not required




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     Duration of CCyR
     Based on Kaplan-Meier estimates, the proportions of patients were maintaining response for 60
     months among patients who achieved CCyR were 99.1% (95% CI: 97.9% to 100%) in the
     nilotinib 300 mg twice daily group, and 97.0% (95% CI: 94.7% to 99.4%) in the imatinib 400 mg
     once daily group.
     Secondary Efficacy Endpoint: Progression to accelerated phase and blast crisis (AP/BC) on study

     Progression “on study” refers to the first documented disease progression to AP/BC or CML-
     related death that occurred at any time after randomization, up to a 60 month post-treatment
     follow-up cut-off. Patients receiving nilotinib 300 mg twice daily who had responded
     insufficiently to study treatment were allowed to increase the dose. Patients receiving imatinib
     who had responded insufficiently to study treatment were allowed to cross over to nilotinib. By
     60 months, in the intention-to-treat (ITT) population, 31 patients progressed to AP/BC (21 in the
     imatinib group and 10 in the nilotinib 300 mg twice daily group). The estimated rates of patients
     free from progression to AP/BC at 60 months were 92.1% in the imatinib group and 96.3% in the
     nilotinib 300 mg twice daily group (HR=0.4636 between nilotinib 300 mg twice daily group and
     imatinib).

     BCR-ABL Mutations

     Study A2303 excluded patients with the BCR-ABL T315I mutation at baseline. In this study,
     BCR-ABL mutation analysis was performed at baseline and post-treatment. Post-treatment
     mutation analysis was performed only in a subset of patients when warranted by their clinical
     course. At baseline, no BCR-ABL mutations were detected for any of the 846 patients enrolled
     in Study A2303. However, Abl polymorphisms were identified at baseline in some patients with
     equal distribution among the three treatment arms (23 for nilotinib 300 mg twice daily, 20 for
     nilotinib 400 mg twice daily, and 17 for imatinib). ABL polymorphism were confirmed by
     amplifying and sequencing the kinase domain region of both non-translocated ABL alleles in the
     same samples. Polymorphisms have been reported to have no clinical relevance.

     At the 60 month follow-up, 12 patients in the nilotinib 300 mg twice daily arm developed
     mutations, and 10 of the 12 had at least one of the following mutations: T315I, Y253H, E255K,
     or F359V mutations. One of the 12 patients in the nilotinib 300 mg twice daily arm with E459K
     mutation progressed. Eleven patients in the nilotinib 400 mg twice daily arm developed
     mutations, and 2 patients progressed. All 11 patients had one of the following mutations: T315I,
     Y253H, E255K/V, F359V or Q252H mutations. Twenty-two patients in the imatinib arm
     developed mutations, and 8 of 22 had one of the following mutations: T315I, Y253H or
     F359V/C/I or M244V mutations.

     The T315I mutation confers a high level of resistance to nilotinib and most tyrosine kinase
     inhibitors and is associated with rapid disease progression. The Y253H, E255K/V and F359V/C/I
     mutations are known to be less sensitive to nilotinib.




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     Secondary Efficacy Endpoint: Overall survival (OS)
     A total of 50 patients died on study, during core treatment, extension treatment or during the
     follow-up after discontinuation of treatment (18 in the nilotinib 300 mg twice daily group, 10 in
     the nilotinib 400 mg twice daily group, and 22 in the imatinib 400 mg once daily group). The
     estimated rates of patients alive at 60 months were 93.7%, versus 91.7%, (p = 0.4881 between
     nilotinib 300 mg twice daily and imatinib) and 96.2% versus 91.7% (p= 0.0266 between nilotinib
     400 mg twice daily and imatinib). As of the 60 month cutoff date, no overall survival benefit has
     been demonstrated.
     Resistant or intolerant Ph+ CML in chronic phase and accelerated phase (adults)

     Study demographics and trial design

     The clinical efficacy of nilotinib in imatinib-resistant or -intolerant Ph+ CML in chronic phase
     (CP) or in accelerated phase (AP) adult patients, has been demonstrated based on the Phase II
     component of Study (A2101).

     The design of Study A2101 is illustrated in Figure 3 below.




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          Table 21             Summary of adult patient demographics for clinical trials (imatinib
                               resistant or –intolerant Ph+ CML-AP and CP patients exposed to study
                               drug)

Study #            Trial design                  Dosage, route of            Study subjects (n=number)    Mean age           Gender
                                                 administration and                                       (Range)
                                                 median duration
A2101              Open label, multicenter,      TASIGNA                     CML-CP (Group A)1 = 321      CML-CP             CML-CP
                   Phase II study to             administered orally:                                     (Group A):         (Group A):
                   determine the efficacy of     400 mg twice daily                                       31% over the       M = 50%
                   TASIGNA in patients           (may be dose-               CML-AP (Group A)1 = 137
                                                                                                          age 65             F = 50%
                   with imatinib-resistant or    escalated to 600 mg
                                                                                                          Mean = 57
                   -intolerant CML with          twice daily).
                                                                                                          Range = 21-85
                   separate treatment arms
                                                 Treatment duration:
                   for chronic and
                   accelerated phase CML.        561 days for CP and                                                         CML-AP
                                                                                                          CML-AP
                                                                                                                             (Group A):
                                                 264 days for AP                                          (Group A):
                                                                                                                             M=55%
                                                                                                          30% over the
                                                                                                          age 65             F= 45%
                                                                                                          Mean = 56
                                                                                                          Range=22-82
          1Group   A: patients who did not have prior TKI other than imatinib.


        An open label, multicenter, Phase II study (A2101) was conducted to determine the efficacy of
        TASIGNA in patients with imatinib-resistant or -intolerant CML with separate treatment arms for
        chronic and accelerated phase CML. The study is ongoing. Efficacy was based on 321 CML-CP
        patients and 137 CML-AP patients enrolled. Median duration of treatment was 561 days and 264
        days, respectively (see Table 22). TASIGNA was administered on a continuous basis (twice daily 2
        hours after a meal and no additional food for at least one hour), unless there was evidence of
        inadequate response or disease progression (see Table 21). Dose escalation to 600 mg twice daily was
        allowed (see Table 21). A total of 57 CML-CP and 33 CML-AP patients were escalated to the 600
        mg twice daily dose.


          Table 22                Duration of Exposure with TASIGNA


                                                                                   Chronic Phase CML     Accelerated Phase
                                                                                                               CML
                                                                                         N = 321
                                                                                                             N = 137
           Median duration of therapy in days (95% CI)                                    561                  264
                                                                                       (459-680)            (190-357)




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     Study Results:

     Resistance to imatinib included failure to achieve a complete hematologic response (by 3
     months), cytogenetic response (by 6 months) or major cytogenetic response (by 12 months) or
     progression of disease after a previous cytogenetic or hematologic response. Imatinib intolerance
     included patients who discontinued imatinib because of toxicity and were not in major
     cytogenetic response at time of study entry.


     Overall, 70% of CML-CP patients were imatinib-resistant while 30% were imatinib-intolerant.
     Overall, 80% of CML-AP patients were imatinib-resistant while 20% were imatinib-intolerant.
     Prior treatment included imatinib, hydroxyurea, interferon, and stem cell transplant (Table 23).
     The median highest prior imatinib dose had been 600 mg/day for CP and AP patients. The highest
     prior imatinib dose was ≥ 600 mg/day in 72% of all CML-CP patients and 79% of all CML-AP
     patients. Thirty-eight (38%) of all CML-CP patients and 45% of all CML-AP patients received
     imatinib doses ≥800 mg/day.


     Table 23            CML Disease History Characteristics
                                                   Chronic Phase                        Accelerated Phase
                                                      (n = 321)                            (n = 137)&
      Median    time since                                58                                   71
      diagnosis in months
                                                       (5-275)                              (2-298 )
      (range)
      Imatinib
             Resistant                               226 (70%)                                  -
             Resistant without
                                                           -                               109 (80%)
             MCyR
             Intolerant without
              MCyR                                    95 (30%)                              27 (20%)
      Median time of imatinib                            975                                  857
      treatment in days 95%CI
                                                     (892-1068)                            (702-1059)
      Prior hydroxyurea                                  83%                                  91%
      Prior interferon                                   58%                                  50%


      Prior organ transplant                              7%                                   8%

     &
         One patient had missing information for imatinib-resistant/intolerant status


    The primary endpoint in the CP patients was major cytogenetic response (MCyR), defined as
    elimination (complete cytogenetic response, CCyR) or significant reduction to <35% Ph+




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       metaphases (partial cytogenetic response, PCyR) of Ph+ hematopoietic cells. The secondary
       endpoint was complete hematologic response (CHR) in CP patients.

       The primary endpoint in the AP patients was overall confirmed hematologic response (HR),
       defined as either a complete hematologic response (CHR), or no evidence of leukemia (NEL).

       Chronic Phase: The MCyR rate in 321 CP patients was 59%. Most responders achieved their
       MCyR rapidly within 3 months (median 2.8 months) of starting TASIGNA treatment and these
       responses were sustained. The CCyR rate was 44%. The median time to achieve CCyR was just
       past 3 months (median 3.3 months). Of the patients who achieved MCyR, 77% (95% CI: 71% to
       84%) were maintaining response at 24 months. Median duration of MCyR has not been reached.
       Of the patients who achieved CCyR, 84% (95% CI: 77% to 91%) were maintaining response at 24
       months. Median duration of CCyR has not been reached. Patients with a CHR at baseline achieved
       a MCyR faster (1.4 vs. 2.8 months). Of CP patients without a baseline CHR, 76% achieved a CHR,
       median time to CHR was 1 month. Median duration of CHR has not been reached. The response
       rates for the CP treatment arm are reported in Table 24 and Figure 4.

       The estimated 24-month overall survival rate in CML -CP patients was 87%.

      Accelerated Phase: The overall confirmed HR rate in 137 AP patients, was 44%.
       Median duration of confirmed HR was 21.5 months. Of the patients who achieved HR, 50% (95%
       CI: 35% to 65%) were maintaining response at 24 months. The rate of confirmed CHR was 31%.
       Median duration of confirmed CHR was 26.3 months. Of the patients who achieved CHR, 51%
       (95% CI: 34% to 69%) were maintaining response at 24 months. The unconfirmed MCyR rate was
       32% with a median time to response of 2. 8 months. Of the patients who achieved MCyR, 66%
       (95% CI: 50% to 82%) were maintaining response at 24 months. Median duration of MCyR has
       not been reached. The response rates for the AP treatment arm are reported in Table 24.

       The estimated 24-month overall survival rate in CML -AP patients was 70%.

       Table 24        Responses in CML – adults

(Best Response Rate)                    Chronic Phase
                                                                               Accelerated Phase

                           Intolerant     Resistant          Total       Intolerant   Resistant     Total
                            (n = 95)      (n = 226)        (n = 321)      (n = 27)    (n = 109)    (n = 137)
Hematologic Response (%)

        Overall                -              -                -         52 (32-71)   41 (32-51)    44 (35-53)
        (95%CI)


        CHR (95%CI)    90%1 (79-97)     72%1 (64-79)    76%1,3 (70-82)      372          302          312

         NEL                   -              -                -            152          112         122

Unconfirmed1 Cytogenetic Response (%)




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    Major (95%CI)      66% (56-76)       56% (49-63)       59% (54-65)       41 (22-61)    30 (22-40)       32 (24-41)


    Complete                 51              41                 44                30           19                 21
    Partial                  16              15                 15                11           11                 11
     CHR = Complete hematologic response CCyR = Complete cytogenetic response
     NEL = No evidence of leukemia
     Hematologic response: CHR+NEL
     CHR (CML-CP): WBC <10 x 109 /L, platelets <450,000/mm3, no blasts or promyelocytes in peripheral blood,
     myelocytes + metamyelocytes <5% in peripheral blood, basophils <5% in peripheral blood, and no extramedullary
     involvement.
     CHR (CML-AP): neutrophils ≥ 1.5 x 109/L, platelets ≥ 100 x 109/L, no myeloblasts in peripheral blood,
     myeloblast < 5% in bone marrow, basophils <5% in peripheral blood, and no extramedullary involvement.
     NEL: same criteria as for CHR but neutrophils ≥ 1.0 x 10 9/L, platelets ≥ 20 x 109/L without platelet transfusion or
     bleeding and no requirement for basophils.
     Cytogenetic response: Complete (0% Ph+ metaphases) or partial (1-35%). Cytogenetic responses were based on
     the percentage of Ph-positive metaphases among ≥ 20 metaphase cells in each bone marrow sample.
     1
       Unconfirmed: Response based on one assessment
     2
       Confirmed: Response assessments confirmed by another assessment at least after 4 weeks).
     3
      207 CP patients did not have a CHR at baseline and were therefore assessable for complete hematologic response
     of which 158 patients (76%) achieved a CHR


     Figure 4         Kaplan-Meier estimates of duration of MCyR (months)1 among CML-CP
                     patients who achieved MCyR - Study CAMN107A2101E2 (Conventional
                     ITT population)




     1Durationdefined as time between first documented response to the date of discontinuation due to progression of
     disease or death.

     Separate treatment arms were also included in the Phase II study (A2101) to study TASIGNA in
     a group of CP and AP patients who had been extensively pre-treated with multiple therapies,




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     including a tyrosine kinase inhibitor agent in addition to imatinib. Of these patients, 30/36 (83%)
     were treatment-resistant. In 22 CP patients evaluated for efficacy, TASIGNA induced a 32%
     MCyR rate and a 50% CHR rate.

     After imatinib failure, 24 different BCR-ABL mutations at baseline were noted in 42% of chronic
     phase and 54% of accelerated phase CML patients who were evaluated for mutations. TASIGNA
     demonstrated efficacy in patients harboring a variety of BCR-ABL mutations associated with
     imatinib resistance, except T315I.


     Treatment discontinuation in newly diagnosed Ph+ CML-CP patients who have achieved
     a sustained molecular response (MR4.5)

     Table 25 Overview of Treatment Free Remission (TFR) clinical study I2201

 Study #        Trial design            Dosage, route of              Study subjects          Mean age           Gender
                                        administration and            (n=number)              (Range)
                                        duration

 I2201          Phase II, single-       Dose: 300 mg nilotinib        Total: 215              Total: 215         Total: 215
                arm, multicenter,       twice daily.                  patients started
                study of TFR in                                       the consolidation       Age: 54 (21-       M: 113
                                        Dose regimen was                                      86) years          (52.6%)
                patients with Ph+       decreased to 400 mg           phase of the study
                CML-CP who                                                                    20.5% over         F: 102
                                        once daily if patients did    190 patients            age 65             (47.4%)
                have achieved           not tolerate the planned      entered the TFR
                sustained MRD*          dose.                         phase.
                status on first-line                                                          TFR Phase:         TFR
                nilotinib               Duration of treatment                                 190                Phase: 190
                treatment.              consolidation phase: 52
                                        weeks.                                                Age: 54 (21-       M: 96
                                        Duration of TFR phase:                                86) years          (50.5%)
                                        median=76 weeks as of                                 21.1% over         F: 94
                                        96-week data cut-off.                                 age 65             (49.5%)



           *Sustained minimal residual disease (MRD) is defined as the following results from the last 4 quarterly
           PCR assessments: MR4.5 at last assessment, no assessment worse than MR4.0 and less than 2
           assessments between MR4 and MR4.5.

     In an open-label, multicenter, single-arm study, 215 adult patients with Ph+ CML-CP treated with
     TASIGNA in first-line for ≥ 2 years who achieved MR4.5 as measured with a quantitative
     diagnostic test validated with a sensitivity of at least MR4.5 (BCR-ABL/ABL ≤0.0032% IS)were
     enrolled to continue TASIGNA treatment for an additional 52 weeks (TASIGNA consolidation
     phase). Of the 215 patients, 190 patients (88.4%) entered the TFR phase after achieving a
     sustained molecular response (MR4.5) during the consolidation phase, defined by the following
     criteria:




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     •      The last four quarterly assessments (taken every 12 weeks) were at least MR4.0 (BCR
            ABL/ABL≤ 0.01% IS), and maintained for 1 year
     •      The last assessment being MR4.5 (BCR-ABL/ABL ≤ 0.0032% IS)

     •      No more than two assessments falling between MR4.0 and MR4.5 (0.0032% IS < BCR-
            ABL/ABL ≤ 0.01% IS).
     The median age of patients who entered the TFR phase was 55 years, 49.5% were females, and
     21.1% of the patients were ≥ 65 years of age. The median actual dose intensity during the 52-
     week TASIGNA consolidation phase was 600.0 mg/day.
     BCR-ABL levels were monitored every 4 weeks during the first 48 weeks of the TFR phase.
     Monitoring frequency was intensified to every 2 weeks upon the loss of MR4.0. Biweekly
     monitoring ended at one of the following time points:
     • Loss of MMR requiring patient to re-initiate TASIGNA treatment
     • When the BCR-ABL levels returned to a range between MR4.0 and MR4.5
     • When the BCR-ABL levels remained lower than MMR for 4 consecutive measurements
     (8 weeks from initial loss of MR4.0).
     Any patient with loss of MMR during the TFR phase re-initiated TASIGNA treatment at 300 mg
     twice daily or at a reduced dose level of 400 mg once daily if required from the perspective of
     tolerance, within 5 weeks after the collection date of the blood sample demonstrating loss of
     MMR. Patients who required re-initiation of TASIGNA treatment were monitored for BCR-ABL
     levels every 4 weeks for the first 24 weeks and then every 12 weeks thereafter in patients who
     regained MMR.
     The primary endpoint was the percentage of patients who were in MMR at 48 weeks after
     starting the TFR phase (considering any patient who required re-initiation of treatment before
     48 weeks as non-responder). Of the 190 patients who entered the TFR phase, 98 patients (51.6%
     [95% CI: 44.2, 58.9]) were in MMR in the TFR phase at 48 weeks and 93 patients (48.9%, [95%
     CI: 41.6, 56.3]) were in MMR in the TFR phase at 96 weeks.

     By the 96-week analysis data cut-off date, 91 patients (47.9%) discontinued from the TFR phase
     due to loss of MMR, and 1 (0.5%), 1 (0.5%), 1 (0.5%) and 3 patients (1.6%) due to death from
     unknown cause, physician decision, lost to follow-up, and subject decision, respectively. Among
     the 91 patients who discontinued the TFR phase due to loss of MMR, 88 patients restarted
     TASIGNA treatment and 3 patients permanently discontinued from the study.
     Of the 88 patients who restarted treatment due to loss of MMR in the TFR phase, 87 patients
     (98.9%) patients regained MMR (one patient discontinued study permanently due to subject
     decision after 7.1 weeks of retreatment without regaining MMR) and 81 patients (92.0%)
     regained MR4.5 by the time of the 96 week cut-off date.

     The time by which 50% of all retreated patients regained MMR and MR4.5 in the retreatment
     phase was 7.0 and 13.1 weeks, respectively. The cumulative rate of MMR and MR4.5 regained
     at 24 weeks since treatment re initiation was 97.7% (86/88 patients) and 86.4% (76/88 patients),
     respectively.




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     Among the 190 patients in the TFR phase, 98 patients had a treatment-free survival (TFS) event
     (defined as discontinuation from TFR phase due to any reason, loss of MMR, death due to any
     cause, progression to AP/BC up to the end of TFR phase, or re-initiation of treatment due to any
     cause in the study) by the 96-week cut-off date. At 96 weeks, the KM estimated median TFS was
     74.6 weeks (95% CI: 36.0, NE) where NE is not estimable, and the KM-estimated 96 weeks TFS
     rate was 48.9% (95% CI: 41.7, 55.8) (Figure 5).

     Figure 5        Kaplan-Meier estimate of treatment-free survival after start of TFR (Full
                     Analysis Set)*




         *By the time of the 96-week data cut-off date, one single patient lost MMR at week 120, at the time when
         only 8 patients were considered at risk. This explains the artificial drop at the end of the curve.


     Treatment discontinuation in Ph+ CML-CP patients who have achieved a sustained molecular
     response (MR4.5) on TASIGNA following prior imatinib therapy




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          Table 26      Overview of Treatment Free Remission (TFR) clinical study A2408

Study #       Trial design       Dosage, route of          Study subjects          Mean age           Gender
                                 administration and        (n=number)              (Range)
                                 median duration
A2408         Phase II, single   Dose: Nilotinib: 300      Total: 163 patients     Total 163          Total : 163
              arm,               mg or 400 mg twice        started the             Age 564.3 (21-     M: 77
              multicenter        daily, 400 mg once        consolidation phase     86) years          (47.2%)
              study of TFR in    daily or any other dose   of the study
              Ph+ CML-CP         received prior to study                           24.5% over age     F: 86
                                                           126 patients entered    65.                (52.8%)
              patients after     entry                     the TFR phase
              achieving                                                            TFR Phase:126      TFR Phase:
              sustained                                                            Age 55 (21-86      126
              MR4.5 on           Duration of treatment
                                 consolidation phase :                             years)             M: 56
              nilotinib                                                                               (44.4%)
                                 52 weeks                                          27.8% over age
                                 Duration of treatment-                            65.                F: 70
                                 free remission phase:                                                (55.6%)
                                 median=99 weeks as of
                                 96-week data cut-off.


          In an open-label, multicenter, single-arm study, 163 adult patients with Ph+ CML-CP taking
          tyrosine kinase inhibitors (TKIs) for ≥ 3 years (imatinib as initial TKI therapy for more than 4
          weeks without documented MR4.5 on imatinib at the time of switch to TASIGNA, then switched
          to TASIGNA for at least 2 years), and who achieved MR4.5 on TASIGNA treatment as measured
          with a quantitative diagnostic test validated with a sensitivity of at least MR4.5 (BCR-ABL/ABL
          ≤0.0032% IS) were enrolled to continue TASIGNA treatment for an additional 52 weeks
          (TASIGNA consolidation phase). Of the 163 patients, 126 patients (77.3%) entered the TFR
          phase after achieving a sustained molecular response (MR4.5) during the consolidation phase,
          defined by the following criterion:
          • The last four quarterly assessments (taken every 12 weeks) showed no confirmed loss of
          MR4.5 (BCR-ABL/ABL ≤ 0.0032% IS) during 1 year.
          The median age of patients who entered the TFR phase was 56 years, 55.6% were females, and
          27.8% of the patients were ≥ 65 years of age. The median actual dose intensity during the 52-
          week TASIGNA consolidation phase was 771.8 mg/day with 52.4%, 29.4%, 0.8%, 16.7% and
          0.8% of patients receiving a daily TASIGNA dose of 800 mg, 600 mg, 450mg, 400mg and 300mg
          just before entry into the TFR phase, respectively.
          Patients who entered the TFR phase but experienced two consecutive measurements of BCR-
          ABL/ABL > 0.01% IS were considered having a confirmed loss of MR4.0, triggering re-initiation
          of TASIGNA treatment. Patients with loss of MMR in the TFR phase immediately restarted
          TASIGNA treatment without confirmation. All patients who restarted TASIGNA therapy had
          BCR-ABL transcript levels monitored every 4 weeks for the first 24 weeks, then once every 12
          weeks.




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     The primary endpoint was defined as the proportion of patients without confirmed loss of MR4.0
     or loss of MMR within 48 weeks following discontinuation of TASIGNA therapy. Of the 126
     patients who entered the TFR phase, 73 patients (57.9%, [95% CI: 48.8, 66.7]) did not have loss
     of MMR, or confirmed loss of MR4.0, or re-initiation of TASIGNA therapy within 48 weeks,
     and in 67 patients (53.2% [95% CI: 44.1, 62.1]) within 96 weeks after the start of the TFR phase.

     By the 96-weeks analysis data cut-off date, 61 patients (48.4%) discontinued from the TFR phase:
     58 patients (46.0%) due to loss of MMR or confirmed loss of MR4.0, 2 patients (1.6%) due to
     subject/guardian decision and one patient (0.8%) due to pregnancy. Among the 58 patients who
     discontinued from the TFR phase due to confirmed loss of MR4.0 or loss of MMR, 56 patients
     restarted TASIGNA therapy and 2 patients permanently discontinued from the study. Of the 56
     patients who restarted TASIGNA treatment due to confirmed loss of MR4.0 or loss of MMR in
     the TFR phase, 52 patients (92.9%) regained MR4.0 and MR4.5; 4 patients (7.1%) did not regain
     MR4.0 by the time of the cut-off date.
     The time by which 50% of all retreated patients regained MR4.0 and MR4.5 in the retreatment
     phase was 12 weeks and 13.1 weeks respectively. The cumulative rate of MR4.0 and MR4.5
     regained by 48-weeks since treatment re-initiation, was 92.9% (52/56 patients) and 91.1% (51/56
     patients), respectively.
     Among the 126 patients in the TFR phase, 61 patients (48.4%) had a treatment-free survival (TFS)
     event (defined as discontinuation from TFR phase due to any reason, loss of MMR, confirmed
     loss of MR4.0, death due to any cause, progression to AP/BC up to the end of TFR phase, or re-
     initiation of treatment due to any cause in the study) on or before the 96-month cut-off date. At 96
     weeks, the KM estimated median TFS was 111.0 weeks (95% CI: 27.9, NE) where NE is not
     estimable, and the KM-estimated TFS rate was 54.0% (95% CI: 44.9, 62.2) (Figure 6).




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          Figure 6      Kaplan-Meier estimate of treatment-free survival after start of TFR (Full
          Analysis Set)




          Table 27 Summary of pediatric patient demographics for clinical trials
          (Newly diagnosed and resistant / intolerant Ph+ CML-CP patients exposed to TASIGNA)

Study #        Trial design             Dosage, route of        Study subjects      Mean age (Range)         Gender
                                        administration and      (n=number)          n (%)                    n (%)
                                        median duration
CAMN107A       A multi-centre, open     50mg, 150mg and          Total:        58   Imatinib/dasatinib       Imatinib/dasatinib
2203           label, non-controlled    200 mg capsules          Patients           resistant/intolerant     resistant/intolerant
               Phase II study to                                                    CML-CP patients.         CML-CP patients.
               evaluate the efficacy                             Resistant/                                  M : 21(63.6%)
               and safety of oral       230 mg/m 2 twice         intolerant                                  F : 12 (36.4%)
               nilotinib in pediatric   daily .                  CML-CP:            Mean 12.4 (2-17)
               patients (1 to <18                                33 patients        2 to <12 years:          Newly diagnosed
                                        Median time on
               years old) with                                                      12(36.4%)                CML-CP patients
                                        treatment:
               newly diagnosed                                   Newly              12to<18 years: 21        M: 13 (52.0%)
                                        Resistant/intolerant     diagnosed          (63.6%)                  F: 12 (48.0%)
               Ph+ chronic              CML-CP:15.
               myeloid leukemia                                  CML-CP:            Newly
                                        6months        Newly     25 Patients        diagnosedCML-CP
               (CML) in chronic         diagnosed
               phase (CP) or with                                                   patients
                                        CML-CP:          14.6                       Mean 13.2 (10-16) 2
               Ph+ CML in CP or         months
               accelerated phase                                                    to 12 years: 6 (24.0%)
               (AP) resistant or                                                    12 to <18 years: 19
               intolerant to either                                                 (76.0%)
               imatinib or dasatinib




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CAMN107A   A Phase I, multi-         Forms: capsules         Total:      15   Group1:             Group1:
2120       center, open-label                                patients
                                     Doses: administered                      Mean 6.8 (10-16)    M: 5 (62.5%)
           study to characterize     nilotinib 230 mg/m2
           the PK of nilotinib in                            Group 1:                             F: 3 (37.5%)
                                     twice daily             Ph+CML:     5
           the study population
           administered as 230       Median time on          patients
                                     treatment:              Ph+ALL:     3    Group 2:            Group 2:
           mg/m2 bid to
           pediatric patients                                patients.        Mean 13.7 (10-17)   M: 3 (42.9%)
           with newly                Group         1:11.0
           diagnosed chronic         months                  Group 2:                             F: 4 (57.1%)
           phase (CP) Ph+            Group    2;      10.8   Ph+ CML: 6
           CML, with CP or           months                  patients
           accelerated phase                                 Ph+ALL: 1
           (AP) Ph+ CML                                      patients.
           resistant/intolerant to
           imatinib and /or
           dasatinib, or with
           refractory/relapsed
           Ph+ ALL.



     Pediatric patients with newly diagnosed Ph+ CML-CP or resistant/ intolerant Ph+ CML-
     CP
     The safety and efficacy of nilotinib in pediatric patients with Ph+ CML-CP have been
     investigated in two open-label single arm studies (Phase 1, CAMN107A2120 and Phase 2
     CAMN107A2203). The data presented here are from a pooled analysis of final data from
     CAMN107A2120 and data with cut-off date of 01-Jun-2016 (all patients had completed 12 x 28-
     day cycles or discontinued) from CAMN107A2203. A total of 69 pediatric patients (from 2 to
     <18 years of age) with either newly diagnosed Ph+ CML-CP (n=25) or imatinib/dasatinib
     resistant or intolerant Ph+ CML-CP (n=44) received nilotinib at a dose of 230 mg/m2 twice daily,
     rounded to the nearest 50 mg dose (to a maximum single dose of 400 mg), approximately 12
     hours apart.
     In the pooled CML patient population (N=69), the median actual dose intensity was 435.5
     mg/m2/day (range: 149 to 517 mg/m2/day), and the median relative dose intensity was 94.7%
     (range: 32 to 112%). Forty patients (58.0%) had relative dose intensity above 90%. The median
     time on treatment with nilotinib was 13.80 months (range: 0.7 to 30.9 months).

     Study Results
     In the resistant or intolerant CML patients (N=44), the primary efficacy endpoint, major
     molecular response (MMR; BCR-ABL/ABL ≤0.1% IS) rate at 6 cycles, was 34.1% (95% CI:
     20.5, 49.9) with 15 patients being in MMR.
     In the newly diagnosed CML patients (N=25), the two primary efficacy endpoints were MMR
     rate by 12 cycles and CCyR rate at 12 cycles. The MMR rate by 12 cycles was 64.0% (95% CI:
     42.5, 82.0) , with 16 patients achieving MMR and the CCyR rate at 12 cycles was 64.0% (95%
     CI: 42.5, 82.0) with 16 patients achieving CCyR.




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     Table 28          Rate of Major Molecular Response*

                                                 Resistant or        Newly
                                                  intolerant       diagnosed
                                                CML patients      CML patients
                                                    N=44             N=25
      At 6 cycles
      n (%)                                        15 (34.1)         13 (52.0)
      95% CI for response                         [20.5,49.9]       [31.3,72.2]
      At 12 cycles
      n (%)                                        18 (40.9)         15 (60.0)
      95% CI for response                         [26.3,56.8]       [38.7,78.9]
      By 12 cycles
      n (%)                                        21 (47.7)         16 (64.0)
      95% CI for response                         [32.5, 63.3]     [42.5, 82.0]
     * MMR, BCR-ABL/ABL ≤0.1% IS




     Among the 21 resistant or intolerant CML patients who were in MMR at any time on treatment,
     the median time to first MMR was 2.76 months (95% CI: 0.03, 5.55). For the 17 newly diagnosed
     CML patients who achieved MMR, the median time to first MMR was 5.55 months (95% CI:
     5.52, 5.75).
     The magnitude of molecular response achieved is presented in Table 28.

     Table 29

     Proportions of patients who had best BCR-ABL ratio category of MR4.0 and MR4.5*

                                                  Resistant or        Newly
                                                   intolerant       diagnosed
                                                 CML patients      CML patients
                                                     N=44             N=25
                                                     n (%)            n (%)
      MR4.0 (BCR-ABL/ABL ≤0.01% IS)                  5 (11.4)          8 (32.0)
      MR4.5 (BCR-ABL/ABL ≤0.0032% IS)                2 (4.5)           7 (28.0)
     * by the cut-off date
     None of the 21 resistant or intolerant CML patients who were in MMR on treatment, had
     confirmed loss of MMR. Among the 17 newly diagnosed CML patients who achieved MMR, one




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     patient had confirmed loss of MMR (the patient lost CHR due to an increase in basophil count,
     however, did not progress to AP/BC).
     One resistant or intolerant CML patient progressed to AP/BC after about 10 months on treatment.

     DETAILED PHARMACOLOGY

     Animal Pharmacodynamics

     Nilotinib has been evaluated in preclinical studies as either the free-base (AMN107-NX) or as a
     mono-hydrochloride salt (AMN107-AA), and has been developed as an oral formulation of the
     mono-hydrochloride salt. Both AMN107-NX and AMN107-AA are absorbed following oral
     administration to animals, and the compound is tolerated at doses showing efficacy in murine
     myeloproliferative disease models.

     In vitro and in vivo pharmacology studies have been carried out to characterize and define the
     activity and selectivity of nilotinib (AMN107-NX). For in vitro studies both human CML cell
     lines and murine hematopoietic cells lines have been employed to characterize the antileukemic
     properties of the compound, and the latter cells have been employed for in vivo efficacy studies
     with nilotinib (both AMN107-NX and AMN107-AA) in mice. To assess selectivity, nilotinib
     (AMN107-NX) was evaluated for effects on kinase autophosphorylation and cell viability, using
     either engineered murine Ba/F3 cells, whose survival is dependent on the expression of
     constitutively activated (oncogenic) kinases, or cancer cell lines expressing the appropriate
     kinase.

     Animal Safety pharmacology

     Safety pharmacology studies were conducted to assess the safety of nilotinib in particular organ
     systems.

     CNS safety pharmacology

     The interactions of nilotinib has been evaluated in a panel of 79 in vitro binding assays for
     potential effects on G-protein coupled receptors, cell transporters, ion channels, nuclear receptors
     and enzymes. No significant effects on ligand-binding were seen at concentrations < 4.0 µM,
     other than for the human adenosine 3 receptor (IC50 values 2.4 and 4.2 µM) and the human
     adenosine transporter (IC50 values 0.9 and 3.5 µM).

     Oral administration of nilotinib at doses up to 300 mg/kg to rats demonstrated no effects on CNS.

     Respiratory effects

     Oral administration of nilotinib at doses up to 300 mg/kg to rats demonstrated no effect on
     respiratory rate, tidal volume or minute volume.




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     Cardiovascular effects

     A variety of in vitro and in vivo studies were conducted to explore possible cardiovascular effects
     of nilotinib. In vitro studies with BJA873 (the nilotinib metabolite, P36.5) were also performed.

     In vitro cardiac safety studies demonstrated a preclinical signal for QT prolongation. No effects
     were seen in ECG measurements in dogs or monkeys treated up to 39 weeks or in a special
     telemetry study in dogs. In neonatal rat ventricular myocytes (NRVM) nilotinib (≥ 3.7 µM)
     increased the ratio of XBP1 mRNA spliced/un-spliced, an endoplasmic reticulum stress marker,
     but a reduction in cellular ATP content in NRVM was observed at a concentration of ≥11 µM.
     Nilotinib produced increases in heart weights and/or left ventricular mass in rats at 40 mg/kg and
     80 mg/kg for 4 weeks treatment without histopathological or structural changes.

     Animal pharmacokinetics

     The program of nonclinical pharmacokinetics for nilotinib consisted of radiolabeled ADME
     studies in the species used for chronic toxicity testing (rat and monkey) as well as in mouse,
     rabbit, and human. Both oral and intravenous dosing routes were evaluated in all species except
     human (oral dosing only) to allow estimates of absorption and bioavailability to be made.
     Additional information obtained from the ADME studies included pharmacokinetic parameters
     of parent drug and total radioactivity, routes and rates of excretion, metabolic pathways, and mass
     balance. Nilotinib tissue distribution studies were performed in pigmented and non-pigmented
     rats. The placenta transfer of nilotinib was also investigated in pregnant rats and rabbits. The
     evaluation of milk excretion of nilotinib was performed in rats. In vitro studies with nilotinib
     were performed to assess blood-plasma distribution, protein binding, phenotyping of enzymes
     responsible for metabolism, enzyme inhibition and induction, and interactions with drug
     transporters.

     Nilotinib is moderately absorbed in all species tested including human, with relatively high
     protein binding that is comparable across species. A decrease in the α1-acid glycoprotein
     concentration may, in theory, decrease nilotinib plasma protein binding. However, this effect
     would be limited due to the significant binding to serum albumin. Nilotinib and/or its metabolites
     was mainly distributed to adrenal cortex, liver, uveal tract, and small intestine while it showed
     minimal brain and testis penetration which was consistent with the lack of any toxic effects being
     observed in these organs. Nilotinib and/or its metabolites showed some passage to the fetus which
     may account for the incidence of embryolethal and embryotoxicity.

     In general, all of the major metabolic pathways observed in humans were also observed in the
     toxicological test species (mouse, rat, rabbit, and monkey).

     Excretion occurred almost exclusively through the fecal route with a minor renal elimination
     in all species, especially in human. Liver function and drug-drug interactions (enzymes or Pgp)
     in the liver may affect the elimination of nilotinib.

     In vitro cytochrome P450 phenotyping experiments indicated that CYP3A4 should be the main
     enzyme contributing to the oxidative metabolism of nilotinib in vivo. Accordingly, a clinical




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     drug-drug interaction study showed that the metabolism of nilotinib could be reduced by co-
     administration of the CYP3A4 inhibitor, ketoconazole.

     In vitro enzyme inhibition studies performed in human liver microsomes revealed that nilotinib
     could act as an inhibitor of CYP2C8, CYP2C9, CYP2D6, and CYP3A4/5 activity in the clinic
     and possibly, but less likely, CYP2C19. Nilotinib displayed no potential for time-dependent
     inhibition (i.e., no mechanism-based inactivation) of any of these enzymes.

     Experiments examining the effect of increasing concentrations of nilotinib on bilirubin and
     estradiol glucuronidation activity suggest that nilotinib could inhibit the activity of UGT1A1 in
     the clinic. Enzyme induction studies indicate that nilotinib can be considered to be an in vitro
     inducer of CYP2B6, CYP2C8, and CYP2C9 activities (and possibly, CYP3A4 as well). Nilotinib
     was also found to be a substrate (efflux ratios ≈ 4 at a nilotinib concentration of 6 µM) for the P-
     gp transporter as well as a possible inhibitor of P-gp in the clinic.

     Exposures were generally proportional to the dose in mice, rats, and rabbits but underproportional
     in dogs, monkeys, and human. There was no clear evidence of gender differences in the exposure
     for mice, monkeys and dogs, while for the rat, females showed somewhat higher exposure than
     males. No clear evidence of accumulation for rats and dogs was observed, while the monkey
     showed moderate accumulation.


     TOXICOLOGY
     Nilotinib has been evaluated in single dose toxicity, repeated dose toxicity, genotoxicity,
     reproductive toxicity, phototoxicity, carcinogenicity (rat and mice) studies.

     Repeat-dose toxicity studies were conducted in rodents and non-rodents up to nine months in
     duration. Nilotinib was generally well tolerated and no toxicities prohibitive for use in humans
     were identified. The rat and cynomolgus monkey were selected as the rodent and non-rodent
     species for chronic toxicity testing as both species are used routinely as animal models in toxicity
     evaluations. All of the major metabolic pathways observed in humans were also observed in the
     toxicological test species (mouse, rat, rabbit, and monkey). Accordingly, all of the metabolites
     identified in humans were also detected in one or more of the animal species tested, with the
     exception of two minor fecal metabolites that accounted for 0.62% and 1.2% of the dose,
     respectively. There were no glutathione or cysteine-related adducts indicative of reactive
     metabolite formation detected in any of the species.

     Single oral dose toxicity study

     No single dose oral toxicity studies were performed.

     Single-dose intravenous toxicity study

     Nilotinib administered to rats at a single intravenous dose of 9 mg/kg did not induce any
     toxicologically relevant changes attributable to nilotinib and therefore this dose was considered
     to be the No-Observed-Adverse-Effect-Level (NOAEL).




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     Potentially vehicle related lesions were observed after the 14-day recovery period. Several
     animals which received vehicle alone or together with test item showed minimal acute or subacute
     focal necrosis in the brain. The distribution was considered consistent with ischemic/hypoxic
     changes, probably as a result of the volume of drug solution applied. No lesions were observed
     in animals sacrificed one day after the administration.

     Repeated dose toxicity

     Repeated dose toxicity studies in mice, rats, dogs and cynomolgus monkeys were conducted as
     indicated in Table 30 below. The doses presented in this section are expressed in terms of the free
     base.


     Table 30          Repeated dose toxicity studies
      Species            Study          Route of         Dose (mg/kg/day)   Gender and        Study
      (strain)           duration       administration                      no of animals     Number
                                                                            per group

      Mouse              2-week         oral (gavage)    0, 50, 150, 450    5 m in control    [02R143]
      (OF1)              tolerability                                       6 m at 50, 150
      non GLP                                                               and 450
                                                                            mg/kg
      Mouse              4-week         oral (in feed)
      [Crl:CD-1          range                           0, 20, 60, 180     10 m + 10 f       [0580231]
      (ICR)]             finding
      non GLP
      Rat                Rising         oral (gavage)    50→250→500         2m+2f             [0370053]
      (Crl:Wist Han)     dose, day
      non GLP            1, 3 & 5

                         4 days                          750                2m+2f


      Rat                2-week         oral (gavage)    0, 30, 100, 300
      (Crl:Wist Han)     range                                              5m+5f             [0370138]
      non GLP            finding

      Rat                4-week +       oral (gavage)    0, 6, 20, 60       10 m + 10 f
      (Crl:Wist Han)     4-week                                             6 m + 6 f for     [0370146]
      GLP                recovery                                           recovery in
                                                                            control and
                                                                            high dose
                                                                            groups

      Rat                4-week         oral (gavage)
      (Crl:Wist Han)                                     0, 20, 80          10 m + 10 f       [0510076]
      GLP

      Rat                4-week         oral (in feed)   0, 20, 60, 180
      (Crl:Wist          range                                              6m+6f             [0580230]
      Han)IGS            finding
      non GLP

      Rat                26-week +      oral (gavage)    0, 6, 20, 60       20 m + 20 f
      (Crl:Wist Han)     4-week                                             10 m + 10 f for   [0580158]
      GLP                recovery                                           recovery in




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                                                                                control and
                                                                                high dose
                                                                                groups


      Dog                Rising             oral (gavage)   100→300→600         1m+1f            [0370052]
      (Beagle)           dose, day
      non GLP            1, 3 & 5
                         4 days                             600                 1m+1f

      Dog                2-week             oral (gavage)   0, 6, 20, 60        1m+1f            [0370139]
      (Beagle)           range
      non GLP            finding                                                2 m + 2 f in
                                                                                high dose only
      Dog                4-week +           oral (gavage)                       3m+3f
      (Beagle)           4-week                             0, 5, 15, 45        2 m + 2 f for    [0370147]
      GLP                recovery                                               recovery in
                                                                                control and
                                                                                high dose
                                                                                group


      Monkey             Rising             oral (gavage)   100→200→400         1m+1f            [0470193]
      (cynomolgus)       dose, day                          600
      non GLP            1, 3 & 6
                         8 days                                                 1m+1f

      Monkey             4-week             oral (gavage)   0, 100, 200, 400,   1m+1f            [0570038]
      (cynomolgus)                                          600                 2 m + 2 f in
      non GLP                                                                   high dose
                                                                                group

      Monkey             39-week +          oral (gavage)   0, 30, 200, 600     4m+4f
      (cynomolgus)       4-week                                                 2 m + 2 f for    [0580157]
      GLP                recovery                                               recovery in
                                                                                control and
                                                                                high dose
                                                                                groups


     f = female animals; m = male animals

     Repeated dose toxicity studies in dogs up to 4 weeks duration and in cynomolgus monkeys up to
     9 months duration, revealed the liver as the primary target organ of toxicity of nilotinib.
     Alterations included increased alanine aminotransferase and alkaline phosphatase activity, and
     histopathology findings (mainly sinusoidal cell or Kupffer cell hyperplasia/hypertrophy, bile duct
     hyperplasia and periportal fibrosis). In general the changes in clinical chemistry were fully
     reversible after a four week recovery period, the histological alterations only showed partial
     reversibility. Exposures at the lowest dose levels where the liver effects were seen were lower
     than the exposure in humans at a dose of 800 mg/day. Only minor liver alterations were seen in
     mice or rats treated up to 26 weeks. Although mainly reversible increases in cholesterol levels
     were seen in rats, dogs and monkeys, a lack of recovery in serum total cholesterol was observed
     in one female monkey (no evidence of recovery was apparent during the recovery duration) with
     a lack of reversibility of morphological liver changes in one male monkey. In the 2-year rat
     carcinogenicity study, the major target organ for non-neoplastic lesions was the uterus (dilatation,
     vascular ectasia, hyperplasia endothelial cell, inflammation and/or epithelial hyperplasia).

     Genotoxicity




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     Genotoxicity studies in bacterial in vitro systems and in mammalian in vitro and in vivo systems
     with and without metabolic activation did not reveal any evidence for a mutagenic potential of
     nilotinib.

     Carcinogenesis

     In the 2-year rat carcinogenicity study conducted orally at TASIGNA at 5, 15, and 40 mg/kg/day,
     there was a non-statistically significant increased incidence of uterine hemangiosarcoma,
     adenocarcinoma and squamous cell carcinoma and an increase in follicular cell adenoma in the
     thyroid gland (barely reaching statistical significance). Given that the incidence of thyroid
     follicular cell adenoma and uterine adenocarcinoma were within the historical control range, the
     data do not clearly indicate that TASIGNA is carcinogenic in rats.
     An increased mortality in female rats given nilotinib at ≥ 15 mg/kg/day for up to 104 weeks was
     observed, which was often associated with gross or microscopic uterine changes. Exposures (in
     terms of AUC) at the highest dose level were represented approximately 2x to 3x human daily
     steady state exposure at the nilotinib dose of 800 mg/day.

     In the 26-week Tg.rasH2 mouse carcinogenicity study, in which nilotinib was administered at 30,
     100 and 300 mg/kg/day, skin papillomas/carcinomas were detected at 300 mg/kg, representing
     approximately 30 to 40 times (based on AUC) the human exposure at the maximum approved
     dose of 800 mg/day (administered as 400 mg twice daily). The No-Observed-Effect-Level for the
     skin neoplastic lesions was 100 mg/kg/day, representing approximately 10 to 20 times the human
     exposure at the maximum approved dose of 800 mg/day (administered as 400 mg twice daily).
     The major target organs for non-neoplastic lesions were the skin (epidermal hyperplasia), the
     growing teeth (degeneration/atrophy of the enamel organ of upper incisors and inflammation of
     the gingiva/odontogenic epithelium of incisors) and the thymus (increased incidence and/or
     severity of decreased lymphocytes).

     Reproductive toxicity studies

     Nilotinib did not induce teratogenicity, but did show embryo- and fetotoxicity at doses which
     also showed maternal toxicity. Increased post implantation loss was observed in both the fertility
     study, with treatment of both males and female rats, and in the embryotoxicity study with the
     treatment of female rabbits. Embryo-lethality and fetal effects (mainly decreased fetal weights,
     visceral and skeletal variations) in rats and increased resorption of fetuses and skeletal variations
     in rabbits were present in the embryotoxicity studies. Exposure to nilotinib in females at No-
     Observed-Adverse-Effect-Levels was generally less or equal to that in humans at 800 mg/day.

     In a pre- and postnatal study, the oral administration of nilotinib to female rats from day 6 of
     gestation to day 21 or 22 post-partum resulted in maternal effects (reduced food consumption and
     lower body weight gains) and longer gestation period at 60 mg/kg. The maternal dose of 60 mg/kg
     was associated with decreased pup body weight and changes in some physical development
     parameters (the mean day for pinna unfolding, tooth eruption and eye opening was earlier). The
     No-Observed-Adverse-Effect-Level in maternal animals and offspring was a maternal dose of 20
     mg/kg.




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     Phototoxicity

     Nilotinib was shown to absorb light in the UV-B and UV-A range, and to be distributed into the
     skin showing a phototoxic potential in vitro. However, no phototoxicity has been observed in
     vivo. Therefore the risk that nilotinib causes photosensitization in patients is considered very low.




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     IMPORTANT: PLEASE READ




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                                                         IMPORTANT: PLEASE READ




  PART III: CONSUMER INFORMATION                                    When it should not be used:
                                                                    Do not use TASIGNA if you or your child:
                      TASIGNA®
                     Pr
                                                                          have an abnormal electrical signal of the heart
                 (Nilotinib Capsules)
                                                                           (prolongation of QT interval),
             50 mg, 150 mg and 200 mg nilotinib                           have uncorrectable low levels of potassium or
       (as nilotinib hydrochloride monohydrate)                            magnesium,
                                                                          are allergic (hypersensitive) to nilotinib or any
                                                                           of the other ingredients of TASIGNA.
 This leaflet is part III of a three-part "Product
 Monograph" published when TASIGNA® was                             What the medicinal ingredient is:
 approved for sale in Canada and is designed                        Nilotinib.
 specifically for Consumers. This leaflet is a summary
 and will not tell you everything about TASIGNA.                    What the important nonmedicinal ingredients
 Contact your doctor or pharmacist if you have any                  are:
 questions about the drug.                                          Colloidal silicon anhydrous, crospovidone, gelatin,
                                                                    iron oxide yellow, iron oxide red,         lactose
 Read all of this leaflet carefully before you start                monohydrate, magnesium stearate, poloxamer, and
 taking this medicine.                                              titanium dioxide.

 Keep this leaflet. You may need to read it again.                  The 50 mg and 150 mg capsules also contain black iron oxide.

   ABOUT THIS MEDICATION                                            What dosage forms it comes in:
                                                                    TASIGNA is supplied as a hard capsule, containing 50 mg,
                                                                    150 mg or 200 mg nilotinib (as nilotinib hydrochloride
  What the medication is used for:                                  monohydrate).
  TASIGNA is used to treat adults with:
      newly diagnosed Philadelphia chromosome positive                   The 50 mg capsules are red/yellow. A black imprint is
         chronic myeloid leukemia (Ph+ CML) in chronic                     stamped on each capsule (“NVR/ABL”).
         phase.                                                           The 150 mg capsules are red. A black imprint is stamped
                                                                           on each capsule (“NVR/BCR”).
           chronic phase and accelerated phase Ph+ CML who               The 200 mg capsules are light yellow. A red imprint is
            are no longer benefiting from other therapies for              stamped on each capsule (“NVR/TKI”).
            CML including imatinib.
                                                                    TASIGNA is available in monthly packs:
  TASIGNA is used to treat children and adolescents 2 years          The monthly pack for 50 mg capsules contains 120
  of age and older with:                                               capsules divided into 3 blister-cartons of 40 capsules/
                                                                       carton.
           newly diagnosed Ph+ CML in chronic phase.                The monthly pack for 150 mg and 200 mg capsules
                                                                       contains 112 capsules divided into 4 individual weekly
           chronic phase Ph+ CML who are no longer                    blister-packs.
            benefiting from other therapies for CML including
            imatinib.
                                                                         WARNINGS AND PRECAUTIONS
  What it does:
  In patients with CML, a change in DNA (genetic                        Serious Warnings and Precautions:
  material) triggers a signal that tells the body to
  produce abnormal white blood cells. TASIGNA                           TASIGNA should be given under the supervision of a
  blocks this signal to stop the production of these                    doctor experienced in the use of anti-cancer drugs. Serious
  abnormal cells.                                                       side effects with TASIGNA include:
                                                                         Sudden cardiac deaths,
                                                                         Prolongation of the QT interval (abnormal electrical
                                                                             signal of the heart),




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                                                              IMPORTANT: PLEASE READ




          Ischemic heart disease (heart disorder), ischemic,               are pregnant or plan to get pregnant. TASIGNA is not
           cerebrovascular events (stroke or other problems due              recommended during pregnancy as it may harm the fetus.
           to decreased blood flow to the brain) and peripheral              Women who can get pregnant must use highly effective
                                                                             birth control during treatment with TASIGNA and for at
           arterial occlusive disease (PAOD) (problems with
                                                                             least 4 weeks after ending treatment,
           decreased blood flow to your leg), rare fatal cases have         are a male patient and are concerned about your fertility
           been reported,                                                    (ability to father a child),
          Liver toxicity (increase of liver enzymes), fatal cases          are a sexually active male. Men who take TASIGNA must
           have been reported,                                               use highly effective birth control during treatment with
          Pancreatitis (inflammation of the pancreas),                      TASIGNA, and for at least 4 weeks after ending
                                                                             treatment. Tell your doctor right away if your female
          Myelosuppression (decrease of the production of blood
                                                                             partner becomes pregnant,
           cells).
                                                                            are breast feeding or plan to breast feed. Women
                                                                             should not breast feed while taking TASIGNA and for
      TASIGNA is not to be used in patients who have
                                                                             two weeks after the last dose,
      uncorrectable low levels of potassium or magnesium.
                                                                            have had a surgical procedure involving the removal
      TASIGNA should only be stopped under the supervision of                of the entire stomach (total gastrectomy),
      a doctor experienced in the treatment of patients with CML.           have ever had or might now have a hepatitis B virus
                                                                             infection (a viral infection of the liver). This is because
                                                                             during treatment with TASIGNA, hepatitis B may
  BEFORE using TASIGNA talk to your doctor or                                become active again, which can be fatal in some cases.
  pharmacist if you or your child:
                                                                             This is called hepatitis B reactivation.Your doctor will
                                                                             check for signs of this infection before and during
         have a heart disorder, or a heart rhythm disorder (or
                                                                             treatment with TASIGNA.
          a family history of heart rhythm disorder) such as an
          irregular heartbeat or an abnormal electrical signal of
          the heart called “prolongation of the QT interval”,            TASIGNA can cause a possible life-threatening heart
                                                                         problem called QTc prolongation. QTc prolongation
         have a personal history of fainting spells,
                                                                         causes an irregular heart beat, which may uncommonly
         have a family history of sudden cardiac death at age           (0.17%) lead to sudden cardiac death. These heart rhythm
          of less than 50 years,                                         disturbances are more likely in patients with risk factors,
         are being treated with medicines that affect the heart         such as heart disease, or in the presence of certain
          beat (antiarrhythmics) or medicines that may have an           interacting drugs. If you experience any symptoms of a
          unwanted effect on the function of the heart (QT               possible heart rhythm disturbance, such as dizziness,
          prolongation) (see also other drugs that may interact          palpitations (sensation of rapid, pounding, or irregular
          with TASIGNA under “INTERACTIONS WITH                          heart beat), fainting, or seizures, you should seek
          THIS MEDICATION”),                                             immediate medical attention.
         have electrolyte problems (e.g., low blood potassium
          levels) or conditions that could lead to electrolyte           Blood tests will also monitor the level of fatty substances
          disturbances (e.g., vomiting, diarrhea, dehydration),         (cholesterol and lipids) and sugar (glucose) in your blood.
         have an eating disorder or are following a strict diet, 
         have diabetes, especially with associated nerve                TASIGNA is a treatment for adults, children and adolescents
          disorders,                                                     with CML. There is no experience with the use of TASIGNA
         had a stroke or other problems due to decreased blood          in children below 2 years of age. The effects of treating
          flow to the brain,                                             children with TASIGNA for long periods of time are not
         have problems with decreased blood flow to your                known.
          legs,
         have liver/kidney disease,                                     Children and adolescents may grow more slowly when
         have had pancreatitis (inflammation of the pancreas),          taking TASIGNA. Your child’s doctor will measure their
         have intolerance to lactose (milk sugar) or one of the         growth at regular visits.
          following rare hereditary diseases:
                Galactose intolerance                                   Before and during the treatment with TASIGNA, certain
                Lapp lactase deficiency                                 blood tests will be done. These will monitor how
                Glucose-galactose malabsorption.                        TASIGNA is affecting your body. Electrocardiograms
          This is because TASIGNA contains lactose.




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  (ECG) may also be done regularly. An ECG is a test that                warfarin - used to treat blood coagulation
  measures how well your heart is working.                                disorders (such as blood clots or thromboses);
                                                                         morphine, methadone - used to treat moderate to
  TASIGNA may cause dizziness. DO NOT drive or use                        severe pain;
  machines if you feel dizziness or are unable to see well               buprenorphine- substitute treatment for opioids
  while taking TASIGNA.                                                   dependence;
    INTERACTIONS WITH THIS MEDICATION                                    cyclosporine A- used to prevent organ
                                                                          transplantations rejections, and to treat
  Tell your doctor or pharmacist before taking TASIGNA if                 autoimmune conditions;
  you or your child are taking or have recently taken any other          alfentanil and fentanyl - used to treat pain and
  medicines, including medicines obtained without a                       used as a sedative before or during surgery or
  prescription. This includes in particular:                              medical procedure;
                                                                         cyclosporine, sirolimus and tacrolimus -
   antiarrhythmics such as amiodarone, disopyramide,
                                                                          medicines that suppress the “self-defense”
       procainamide, quinidine, sotalol, digoxin, ibutilide,
                                                                          ability of the body and fight infections -
       flecainide, propafenone - used to treat irregular heart
                                                                          commonly used to prevent the rejection of
       beat;
                                                                          transplanted organs such as liver, heart and
   verapamil - used to treat high blood pressure and some                kidney;
       types of irregular heart beat;
                                                                         dihydroergotamine and ergotamine – used to
   chloroquine, halofantrine, clarithromycin, haloperidol,               treat dementia;
       moxifloxacin, methadone, bepridil, pimozide -
                                                                         levothyroxine– used to treat thyroid deficiency
       medicines that may have an unwanted effect on the
       function of the heart (QT prolongation);                          statins (such as simvastatin and lovastatin)- class of drugs
   laxatives, enemas, water pills, amphotericin B, high                  used to treat high level of fats in blood.
       dose corticosteroids - medicines that can disturb             In addition, while taking TASIGNA, speak with the doctor
       electrolyte levels;                                           before taking antacids (medicines against heartburn). These
   chlorpromazine, droperidol, ziprasidone - used to                medications need to be taken separately from TASIGNA:
       stabilize thinking and behaviour;                                  antacids called H2 blockers which suppress the
   fluoxetine, citalopram, venlafaxine, tricyclic/tetracyclic                production of acid in the stomach – should be taken
       antidepressants e.g. amitriptyline, imipramine,                        approximately 10 hours before and approximately 2
       maprotiline – used to treat mood disorder;                             hours after you take TASIGNA;
   pentamidine – used to prevent and treat pneumocystis
                                                                          antacids such as those containing aluminum
       carinii pneumonia;
                                                                              hydroxide, magnesium hydroxide and simethicone
   chloroquine – used to treat malaria;                                      which neutralize the high acidity of the stomach –
       vorinostat, sunitinib, lapatinib – used to treat cancers;             should be taken approximately 2 hours before or
   salmeterol, formoterol – used to treat asthma;                            approximately 2 hours after you take TASIGNA.
   ketoconazole, itraconazole, voriconazole, levofloxacin,
       ciprofloxacin,         fluconazole,         erythromycin,     If the patient sees other doctors while taking TASIGNA,
       clarithromycin, telithromycin, tacrolimus, cefazolin -        tell them about TASIGNA use.
       used to treat infections;
   domperidone – used to treat gastrointestinal motility            Do not take TASIGNA with food. Taking TASIGNA
       disorder;                                                     with food may increase the amount of TASIGNA in the
   metoclopramide, prochlorperazine, ondansetron and                blood, possibly to a harmful level.
       dolasetron- used to treat nausea;
   ritonavir - an anti-HIV medicine from the class                  Do not take any products or juices containing
       “antiproteases”;                                              grapefruit, star fruit, pomegranate, Seville oranges or
                                                                     similar fruits while taking TASIGNA. This may
   carbamazepine, phenobarbital, phenytoin - used to treat          increase the amount of TASIGNA in blood, possibly to a
       epilepsy;
                                                                     harmful level.
   rifampicin - used to treat tuberculosis;
   St. John’s Wort - a herbal product (also known
       as Hypericum Perforatum);                                         PROPER USE OF THIS MEDICATION
   midazolam - used to relieve anxiety before
       surgery;




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  Adults:                                                                     capsule twice
                                                                                                Evening: 1 x 200 mg
                                                                              a day
  Always take TASIGNA exactly as your doctor has
  told you.                                                                                     and 1 x 50 mg

  Newly diagnosed Ph+ CML in chronic phase:                       600 mg      Take two 150      Morning: 2 x150 mg
                                                                              mg capsules
      Usual daily dose 600 mg: take two 150 mg                                                 Evening: 2 x 150 mg
                                                                              twice a day
          capsules two times a day, approximately every
          12 hours.                                               700 mg      Take one 200      Morning: 1x 200 mg
      Reduced daily dose 400 mg: take two 200 mg                             mg and one
                                                                                                and 1x150 mg
          capsules once a day.                                                150 mg
                                                                              capsule twice     Evening: 1 x 200 mg
                                                                              a day
  Chronic phase and accelerated phase Ph+ CML in patients                                       and 1 x150 mg
  who are no longer benefitting from previous treatment for       800 mg      Take two 200      Morning: 2 x 200 mg
  CML:                                                                        mg capsules
                                                                                                Evening: 2 x 200 mg
       Usual daily dose 800 mg: take two 200 mg                              twice a day
          capsules two times a day, approximately every 12        Swallow capsules whole with water on an empty
          hours.                                                  stomach. Do not consume any food for at least 2 hours
       Reduced daily dose 400 mg: take two 200 mg                before the dose is taken and for at least 1 hour after the
          capsules once a day.                                    dose is taken. Do not open the capsules.

  Children and adolescents                                        If capsules cannot be swallowed:
           Always give TASIGNA to your child exactly as the            Open the capsules
            doctor has told you.                                        Mix the content of each capsule in one teaspoon of
           Your child’s dose will depend on their body weight             applesauce (pureed apple)
            and height. The doctor will calculate the correct                 Use only one single teaspoon of applesauce (not
            dose to use and tell you how many capsules of                     more).
            TASIGNA to give to your child.                                    Use only applesauce (no other food).
           Your child’s dose of TASIGNA may change as your       Swallow the mixture immediately.
            child grows.
                                                                  Treatment Discontinuation:
  Pediatric dosing of TASIGNA
                                                                  The doctor may lower the dose, stop the treatment for a short
  Total                    How to take this dose                  time or discuss the option of stopping treatment completely.
  Daily                                                           This may be based on a specific blood test result or if you or
  Dose                                                            your child feels unwell.
  100 mg       Take one 50     Morning: 1 x 50 mg                 If treatment with TASIGNA is stopped, the doctor will
               mg capsule                                         continue to carefully monitor your CML or that of your child.
                               Evening: 1 x 50 mg                 The doctor may tell you or your child to re-start TASIGNA if
               twice a day
                                                                  the condition requires it.
  200 mg       Take two 50     Morning: 2 x 50 mg
               mg capsules                                        Overdose:
                               Evening: 2 x 50 mg
               twice a day
                                                                  If you or your child have taken more TASIGNA
  300 mg       Take one 150    Morning: 1 x 150 mg                than directed, or if someone else accidentally takes
               mg capsule                                         the capsules, contact your doctor or the nearest
                               Evening: 1 x 150 mg
               twice a day                                        hospital emergency room or a local poison control
  400 mg       Take one 200    Morning: 1 x 200 mg                centre immediately. You may be asked to show
               mg capsule                                         them the pack of capsules.
                               Evening: 1 x 200 mg
               twice a day
  500 mg       Take one 50     Morning: 1 x 200 mg
               mg and one
                               and 1 x 50 mg
               200 mg




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  Missed Dose:                                                              SERIOUS SIDE EFFECTS, HOW OFTEN THEY HAPPEN
  If a dose is missed, take the next dose as                                        AND WHAT TO DO ABOUT THEM
  scheduled. Do not take a double dose to make up
  for the forgotten capsules.
                                                                           Frequency / Symptom / effect         Talk with your       Stop
                                                                                                                  healthcare        taking
                                                                                                                 professional      drug and
   SIDE EFFECTS AND WHAT TO DO                                                                                                        get
   ABOUT THEM                                                                                                                     immediate
                                                                                                                 Only    In all    medical
                                                                                                                  if     cases       help
  As with all medicines, TASIGNA can cause side                                                                 severe
  effects. These are not all the possible side effects that
  may be experienced when taking TASIGNA. If any                                         bilirubin in the
  side effects not listed here are experienced, or these                                 blood: Yellow skin
                                                                                         and eyes, pale
  affect you or your child severely, tell your doctor or
                                                                                         stool, dark urine,
  pharmacist.                                                                            loss of appetite,
                                                                                         fatigue
      fatigue;                                                                          Nausea                  ✓                    
      weakness;
                                                                           Common        Parasthesia:                     ✓
      muscle pain;                                                                      Sensation of
      itching;                                                                          tingling, pain or
                                                                                         numbness in
      hair loss;                                                                        fingers and toes
      upper respiratory tract infections;                                               Heart Disorders:                 ✓           
      dyspepsia (digestion problems), eating                                            Chest pain, or
       disorder (anorexia), disturbed sense of taste;                                    discomfort, high
      skin reddening;                                                                   blood pressure,
                                                                                         irregular heart
      insomnia, depression, anxiety.                                                    rhythm blue
  Call your doctor as soon as possible if you faint (loss of                             discoloration of the
                                                                                         lips, tongue or skin
  consciousness) or have an irregular heartbeat while taking
  TASIGNA as these may be due to a serious heart                                         Heart failure:                   ✓           
                                                                                         Chest pain,
  condition.                                                                             irregular heart
  If you are the caregiver of a child who is being treated                               rhythm (fast or
  with TASIGNA, tell the doctor if any of the above                                      slow)
  conditions apply to your child.                                                        Prolongation of                  ✓           
                                                                                         QT interval:                       
                                                                                         Irregular heartbeat,
       SERIOUS SIDE EFFECTS, HOW OFTEN THEY HAPPEN                                       fainting, loss of
               AND WHAT TO DO ABOUT THEM                                                 consciousness
                                                                                         Abdominal pain          ✓                    
      Frequency / Symptom / effect        Talk with your         Stop                   Fever                    ✓                    
                                            healthcare          taking
                                           professional        drug and                  Lung Disorders:                  ✓           
                                                                  get                    Difficulty
                                                              immediate                  breathing or
                                                               medical                   painful,
                                           Only    In all
                                                                 help                    cough, wheezing
                                            if     cases
                                                                                         with or without
                                          severe
                                                                                         fever
      Very          Changes in blood                ✓
      Common or     test results:
      Common        Chills, fever, easy
                    bruising, frequent,
                    infections, fatigue

                    High levels of                  ✓             




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     SERIOUS SIDE EFFECTS, HOW OFTEN THEY HAPPEN                        SERIOUS SIDE EFFECTS, HOW OFTEN THEY HAPPEN
             AND WHAT TO DO ABOUT THEM                                          AND WHAT TO DO ABOUT THEM


    Frequency / Symptom / effect        Talk with your       Stop      Frequency / Symptom / effect        Talk with your       Stop
                                          healthcare        taking                                           healthcare        taking
                                         professional      drug and                                         professional      drug and
                                                              get                                                                get
                                                          immediate                                                          immediate
                                         Only    In all    medical                                          Only    In all    medical
                                          if     cases       help                                            if     cases       help
                                        severe                                                             severe
                                                              
                  Inflammation of                 ✓                                  muscles which
                  the pancreas                                                       may be due to
                  (pancreatits):                                                     decreased blood
                  Severe        upper                                                flow, ulcers that
                  (middle or left)                                                   heal slowly or not
                  abdominal pain                                                     at all and
                                                                                     noticeable changes
                  Growth                          ✓                                  in color (blueness
                                                                                    or paleness) or
                  Retardation:
                  (when a child is                                                   temperature
                  not growing at a                                                   (coolness)
                  normal rate for                                                    Generally feeling      ✓          
                  their age)                                                         unwell
                                                                                     Bone pain                       ✓
    Common or    Water retention:                 ✓
                 Rapid weight gain,                                                  Pain in joints                  ✓
    uncommon
                 swelling of hands,                                                  Urinary tract                   ✓
                 ankles, feet or face                                                disorders:
                 High blood sugar:                ✓                                  Difficulty and pain               
                 Excessive thirst,                                                   when passing
                 high urine output,                                                  urine, exaggerated
                 increased appetite                                                  sense of needing to
                 with weight loss,                                                   urinate, blood in
                 tiredness                                                           urine
    Uncommon     Liver Damage:                    ✓                                 Overactive                      ✓
                 Yellow skin and                                                     thyroid gland
                 eyes, nausea, loss                                                                                   
                                                                                     (hyperthyroid):
                 of appetite, dark-                                                  Fast heart beat,
                 colored                                                             bulging eyes,
                 urine                                                               weight loss,
                  Diarrhea               ✓                                         swelling at front
                                                                                     of the neck
                  Vomiting               ✓                                          Low levels of          ✓
                  Gastrointestinal                                                                                     
                                                  ✓                                  growth hormone
                  disorders:                                                         (growth hormone
                  Abdominal pain,                   
                                                                                     deficiency):
                  nausea,                                                            growing more
                  vomiting of blood,                                                 slowly, short
                  black stools,                                                      stature, weight
                  constipation,                                                      gain especially
                  heartburn, swelling                                                around the body,
                  or bloating of the                                                 changes in muscle
                  abdomen                                                            mass, changes in
                  Blocked artery in               ✓                                  mood, delay in
                  leg, arm, finger or                                                start of puberty
                  toe:                              
                                                                                     Migraine:                       ✓
                  pain or discomfort,                                                Severe headache
                  weakness, or                                                       often                             
                  cramping in leg




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     SERIOUS SIDE EFFECTS, HOW OFTEN THEY HAPPEN                         SERIOUS SIDE EFFECTS, HOW OFTEN THEY HAPPEN
             AND WHAT TO DO ABOUT THEM                                           AND WHAT TO DO ABOUT THEM


    Frequency / Symptom / effect         Talk with your       Stop      Frequency / Symptom / effect        Talk with your       Stop
                                           healthcare        taking                                           healthcare        taking
                                          professional      drug and                                         professional      drug and
                                                               get                                                                get
                                                           immediate                                                          immediate
                                          Only    In all    medical                                          Only    In all    medical
                                           if     cases       help                                            if     cases       help
                                         severe                                                             severe
                  accompanied by                                                     (hypothyroid):
                  nausea,                                                            Weight gain,
                  vomiting and                                                       tiredness, hair
                  sensitivity to light                                               loss, muscle
    Uncommon     Nervous system                    ✓                                 weakness,
                                                                                    feeling
    or           disorders (such as
    Unknown      bleeding in the                                                     cold
    Frequency    skull):                                                             Rhabdomyo                        ✓           
                                                                        Unknown
                 Weakness or                                            Frequency    lysis
                                                                                     (breakdown                         
                 paralysis of limbs
                  or face, difficulty                                                of damaged
                 speaking, severe                                                    muscle):
                 headache, seeing,                                                   Muscle
                 feeling or hearing                                                  spasms,
                 things that are not                                                 fever, red-
                 there, loss of                                                      brown urine
                 consciousness,                                                      Blood clot in a                  ✓
                 confusion,                                                          vein:
                 disorientation,                                                                                        
                                                                                     Swelling and
                 trembling                                                           pain in one part
                 Kidney                            ✓                                 of the body
                                                               
                 disorders                                                           Low blood                        ✓
                 (including                                                          pressure:
                 kidney failure):                                                    Dizziness,                         
                 Thirst, dry skin,                                                   spinning,
                 irritability, dark                                                  sensation
                 urine, decreased                                                    Second                           ✓
                 urine output                                                        malignancies
                 Eye disorders:                    ✓                                 (such as gastric                   
                                                               
                 Blurred vision, loss                                                cancer,
                 of vision in eye,                                                   gastrointestinal
                 increased                                                           stromal
                 sensitivity of the                                                  tumour, pancreatic
                 eyes to light, eye                                                  carcinoma,
                 pain or redness,                                                    pancreatic
                 swelling and                                                        neuroendocrine
                 itching of the                                                      tumour,
                 eyelids, decreased                                                  colon cancer)
                 sharpness of                                                        Tumour lysis                     ✓
                 vision, eye                                                         syndrome
                                                                                     (the sudden, rapid                 
                 irritation
                  Skin disorders:                  ✓                                 death of cancer
                                                                                    cells due to the
                  Rash, painful red
                                                                                     treatment):
                  lumps, pain in                                                     Nausea, shortness
                  joints and                                                         of breath, irregular
                  muscles                                                            heartbeat, clouding
                  Underactive                      ✓                                 of urine, tiredness
                                                               
                  thyroid gland                                                      and/or joint pain




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     SERIOUS SIDE EFFECTS, HOW OFTEN THEY HAPPEN                            SERIOUS SIDE EFFECTS, HOW OFTEN THEY HAPPEN
             AND WHAT TO DO ABOUT THEM                                              AND WHAT TO DO ABOUT THEM


    Frequency / Symptom / effect         Talk with your       Stop         Frequency / Symptom / effect          Talk with your       Stop
                                           healthcare        taking                                                healthcare        taking
                                          professional      drug and                                              professional      drug and
                                                               get                                                                     get
                                                           immediate                                                               immediate
                                          Only    In all    medical                                               Only    In all    medical
                                           if     cases       help                                                 if     cases       help
                                         severe                                                                  severe
                  Hepatitis B                      ✓                                     with blood test
                  reactivation (a                                                        results (such as
                  previous viral                                                        high potassium,
                  infection of the                                                       uric acid, and
                  liver becomes                                                          phosphorous levels
                  active again):                                                         and low calcium
                  fever, skin rash,                                                      levels in the blood)
                  joint pain and                                                         Spontaneous                       ✓
                  inflammation as                                                        abortions, stillbirth
                  well as tiredness,                                                     and fetal
                  loss of appetite,                                                      malformations.
                  nausea, jaundice                                                       Facial paralysis                  ✓
                  (yellowing of the                                                      (weakness and
                  skin or whites of                                                      paralysis of face
                  eyes), pain in the                                                     muscles): loss of
                  upper right                                                            movement on one
                  abdomen, pale                                                          side of the face;
                  stools and dark                                                        drooping eye,
                  urine. Hepatitis B                                                     drooping corner of
                  reactivation can be                                                    the mouth,
                  fatal in some cases                                                    difficulty closing
    Reported      Severe                           ✓                                     your eye,
    from post-    allergic                                                               asymmetry of face
    marketing     reaction:
    with          Rash, hives,                                         This is not a complete list of side effects.
    Unknown       swelling of the                                      For any unexpected effects while taking TASIGNA, contact
                  face, lips tongue or
    Frequency                                                          your doctor or pharmacist.
                  throat, difficulty
                  swallowing or
                  breathing, dizziness
                  Cardiac                          ✓                   HOW TO STORE IT
                  tamponade:
                  Anxiety,
                  restlessness, chest                                      Keep out of the reach and sight of children.
                  pain
                  Bronchospasm:                                            Do not use TASIGNA after the expiry date which
                                                   ✓
                  Difficulty                                                is stated on the carton after EXP. The expiry date
                  breathing with                                            refers to the last day of that month.
                  wheezing or                                              Store at room temperature (15-30C).
                  coughing                                                 Store in the original package.
                  Abnormal                         ✓
                  laboratory values:
                  Nausea, shortness
                  of breath, irregular
                  heartbeat, clouding
                  of urine, tiredness
                  and/or joint
                  discomfort
                  associated




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   Reporting Side Effects

   You can report any suspected side effects associated with
   the use of health products to Health Canada by:

      Visiting the Web page on Adverse Reaction Reporting
       (https://www.canada.ca/en/health-
       canada/services/drugs-health-products/medeffect-
       canada.html) for information on how to report online,
       by mail or by fax; or
      Calling toll-free at 1-866-234-2345.

   NOTE: Contact your health professional if you need
   information about how to manage your side effects. The
   Canada Vigilance Program does not provide medical
   advice.




 MORE INFORMATION

  Please consult the doctor or pharmacist with any
  questions or concerns you may have regarding your
  individual condition.

  This document plus the full product monograph,
  prepared for health professionals can be found at:
  http://www.novartis.ca or by contacting the sponsor
  Novartis Pharmaceuticals Canada Inc., at:
  1-800-363-8883
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